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                                                                            Page 1
                            UNITED STATES DISTRICT COURT

                            SOUTHERN DISTRICT OF FLORIDA

              IRA KLEIMAN, as the personal)
              representative of the Estate)
              of David Kleiman, and W&K   ) Case No:
              Info Defense Research, LLC, ) 9:18-cv-80176-BB/BR
                      Plaintiffs,         )
                      v.                  )
              CRAIG WRIGHT,               )
                      Defendant.          )
                            - - - - - - - - - - -



                                      CONFIDENTIAL



                                VIDEOTAPED DEPOSITION

                                    JAMIE R. WILSON




                               Friday, November 8, 2019




              Reported by:      Lori J. Goodin, RPR, CLR, CRR, RSA

                                California CSR #13959

              Assignment No. 528739
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        1                                                          1               CONTENTS
        2                                                              EXAMINATION BY                          PAGE
        3             The deposition of JAMIE WILSON was           2   Mr. Freedman                   8, 168
        4    convened on Friday, November 8, 2019, commencing          Mr. Paschal                     84
                                                                   3
        5    at 8:36 a m., at the offices of
                                                                   4               EXHIBITS
        6
                                                                       WILSON
        7          BOIES SCHILLER FLEXNER LLP                      5   EXHIBIT NO. DESCRIPTION                      PAGE
        8          1410 New York Avenue, Northwest                 6   Exhibit 1 Mr. Wilson's resignation letters 18
        9          Washington, D.C. 20005                          7          10/23/2013
       10                                                          8          Defense Australia 108905-108908
       11    before Lori J. Goodin, Registered Professional        9   Exhibit 2 E-mail from Wilson to Wright 24
                                                                  10          9/20/2013, Defense 45496
       12    Reporter, Certified LiveNote Reporter, Certified
                                                                  11   Exhibit 3 Exhibit to Plaintiffs' complaint 32
       13    Realtime Reporter, Realtime Systems Administrator,   12          Document 83-5
       14    California CSR #13959, and Notary Public in and      13   Exhibit 4 E-mail, Wright to Wilson         41
       15    for the District of Columbia.                        14          6/26/2013, Defense 28015
       16                                                         15   Exhibit 5 E-mail, Wright, cc Wilson         42
       17                                                         16          7/2/2013, Defense 266797
       18                                                         17   Exhibit 6 E-mail, Wright to Hardy,         44
       19
                                                                  18          cc Wilson, 10/9/2013
                                                                  19          Defense 25094
       20
                                                                  20   Exhibit 7 E-mail, Wright, cc: Wilson        52
       21                                                         21          10/2/2013
       22                                                         22          Defense Australia 553926
                                                       Page 3                                                   Page 5
         1               APPEARANCES                               1            EXHIBITS CONTINUED
         2   For Plaintiffs:
              VELVEL FREEDMAN, Esquire                             2   WILSON
         3    ROCHE FREEDMAN
              200 South Biscayne Boulevard                         3   EXHIBIT NO. DESCRIPTION                    PAGE
         4    Suite 5500
              Miami, Florida 33131                                 4   Exhibit 8 E-mail, Wright, cc: Wilson      54
         5    305-357-3861                                         5          10/12/2013, Defense 45457
              vel@rochefreedman com
         6                                                         6   Exhibit 9 E-mail, Wright to Italia     57
             And Co-counsel:
         7    KYLE ROCHE, Esquire (via telephone)                  7          cc: Wilson, 10/6/2013
              ROCHE FREEDMAN
         8    185 Wythe Avenue, F2                                 8          Defense 46093
              Brooklyn, New York 11249
         9    929-457-0050
                                                                   9   Exhibit 10 E-mail, Wright to Manu, Wilson 59
              kyle@rochefreedman com                              10          9/23/2013
        10
             And Co-counsel:                                      11          Defense Australia 113043
        11    ANDREW S BRENNER, Esquire
              BOIES SCHILLER FLEXNER LLP                          12   Exhibit 11 E-mail, Wright to Dempster,     62
        12    11401 New York Avenue, Northwest
              Washington, D C 20005
                                                                  13          cc: Wilson, 7/18/2013
        13    202-237-2727                                        14          Defense 30127
              abrenner@bsfllp com
        14                                                        15   Exhibit 12 E-mail, Wright to Italia     64
        15   For Defendant:
              ZALMAN KASS, Esquire                                16          cc: Wilson, 10/6/2013
        16    BRYAN L PASCHAL, Esquire
              JULIO PEREZ, Esquire (via video link)               17          Defense 46098
        17    RIVERO MESTRE                                       18   Exhibit 13 E-mail, Lipke to Wright, Wilson 65
              565 Fifth Avenue
        18    7th Floor                                           19          9/27/2013, Defense 467687
              New York, New York 10017
        19    zkass@riveromestre com                              20   Exhibit 14 Affidavit submitted by Wright to 68
              bpaschal@riveromestre com
        20    jperez@riveromestre com                             21          Supreme Court of New South Wales
             ALSO PRESENT:
        21
        22    David Campbell, videographer
                                                                  22          Document 83-4




                                                                                            2 (Pages 2 to 5)
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        1           EXHIBITS CONTINUED                       1            Counsel will you please identify
        2   WILSON                                           2      yourselves for the record and then the
        3   EXHIBIT NO. DESCRIPTION                    PAGE  3      witness will be sworn in and we can proceed.
        4   Exhibit 15 E-mail, Wilson to Wright and     74   4            MR. FREEDMAN: Vel Freedman of Roche
        5           Watts, 8/11/2013, Defense 43726          5      Freedman for the plaintiff.
        6   Exhibit 16 E-mail, Wright to Wilson, Watts 75    6            MR. BRENNER: Andrew Brenner from
        7           7/2/2013, Defense 31588                  7      Boies Schiller for the plaintiff.
        8   Exhibit 17 E-mail, Wright to Alastair    80      8            MR. PASCHAL: Bryan Paschal for
        9           cc: Wilson, 8/8/2013                     9      Dr. Craig Wright.
       10           Defense 267325                          10            MR. KASS: Zalman Kass for Dr. Craig
       11   Exhibit 18 MYOB Program                 82      11      Wright. And from our team we also have Julio
       12           Defense 262775                          12      Perez who is on video link.
       13   Exhibit 19 Jamie Wilson's business card    92   13                 * * *
       14   Exhibit 20 Employee Remuneration Schedule 100 14                JAMIE R. WILSON,
       15           10/29/2013                              15   a witness called for examination, having been
       16   Exhibit 21 Jamie Wilson's LinkedIn profile 111  16   first duly sworn, testified as follows:
       17   Exhibit 22 U.S. Patent 14354359 by Wilson 156   17                 * * *
       18                                                   18                EXAMINATION
       19        (Original Exhibits attached to the         19   BY MR. FREEDMAN:
       20   original transcript.)                           20         Q. Good morning, Mr. Wilson.
       21                                                   21         A. Good morning.
       22                                                   22         Q. My name is Vel Freedman, we have met
                                                  Page 7                                                  Page 9
        1            PROCEEDINGS                             1   and spoken a few times before.
        2             * * *                                  2             This is your deposition. You have
        3                                                    3   just told us earlier that you have never taken a
        4           THE VIDEOGRAPHER: We are now on the      4   deposition before. Is that correct?
        5     record. This begins Media Unit Number 1 in     5         A. That's correct.
        6     the deposition of Jamie Wilson.                6         Q. I will go through a little bit of
        7           This is in the matter of Ira Kleiman     7   the ground rules here for you and then we can get
        8     as the personal representative of the estate   8   started. But before that, lets just take care of
        9     of David Kleiman and W&K Info Defense          9   a little housekeeping.
       10     Research LLC, versus Craig Wright.            10             Can you please state your full name
       11           This is in the United States            11   and date of birth for the record?
       12     District Court, Southern District of Florida. 12         A. Jamie Robert Wilson, 15th of June,
       13     Case Number 918 CV 80176 B/BR.                13   1980.
       14           Today is November 8, 2019, and the      14         Q. And your home address?
       15     time is 8:36 a m.                             15         A. 361 Westlake Drive, Queensland,
       16           This deposition is being taken at       16   Australia.
       17     the Washington, D.C. offices of Boies         17         Q. And your work address?
       18     Schiller.                                     18         A. 11420 George Street, Queensland,
       19           The videographer today is David         19   Brisbane.
       20     Campbell of Magna Legal Services and the      20         Q. All in Australia?
       21     court reporter is Lori Goodin of Magna Legal  21         A. All in Australia.
       22     Services.                                     22         Q. So you understand that you are under




                                                                                      3 (Pages 6 to 9)
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                                                    Page 10                                                Page 12
        1   oath today and you are sworn to tell the truth?      1   break or you just need a break, stretch your
        2        A. Yes.                                         2   legs, take a second. Let me know. This is not a
        3        Q. And your examination is now being            3   marathon.
        4   recorded and may be shown to a jury at some          4        A. Will do, okay.
        5   point.                                               5        Q. Okay. So, Mr. Wilson, you were born
        6            Along those lines of the ground             6   in Australia?
        7   rules, the court reporter is taking down             7        A. Yes.
        8   everything you say. And so it might be               8        Q. Did you go to college or university?
        9   counterintuitive, but you need to try to audibly     9        A. Yes.
       10   respond. So yes or no. If you shake your head       10        Q. Where did you go?
       11   yes or if you shake your head no, she won't get     11        A. Queensland University of Technology.
       12   it.                                                 12        Q. Did you attain any degrees there?
       13        A. Okay.                                       13        A. Bachelor of Commerce.
       14        Q. I will try to remind you to speak           14        Q. And what year did you get the
       15   audibly, but try to do your best also.              15   Bachelor of Commerce?
       16        A. I understand.                               16        A. 2006.
       17        Q. Are you taking any medication today         17        Q. Did you ever become a CPA or go to
       18   that might affect your ability to tell the truth?   18   graduate school?
       19        A. No, I'm not.                                19        A. No.
       20        Q. Or to recollect anything?                   20        Q. Okay. Have you been an accountant?
       21        A. No.                                         21        A. Yes, but not a tax accountant.
       22        Q. Is there anything that would impair         22        Q. And did you take any training to
                                                    Page 11                                                Page 13
        1   your ability to tell the truth at this deposition    1   become an accountant?
        2   today?                                               2        A. Yes.
        3        A. No.                                          3        Q. Where?
        4        Q. Okay. If I ask you a question and            4        A. At JW Schubert & Co, located in
        5   you don't understand it, please ask me to explain    5   Springwood in Logan, in Queensland.
        6   or repeat it.                                        6        Q. When did that program start?
        7        A. Will do.                                     7        A. It would have -- 2004 to 2008.
        8        Q. If you don't, I will assume that you         8        Q. Okay. Was that your undergraduate
        9   understood the question, and I will rely on your     9   in commerce also?
       10   answer, okay?                                       10        A. It was.
       11        A. Okay.                                       11        Q. And then after, and you graduated in
       12            MR. PASCHAL: Just one second, but          12   2008?
       13      mine is working, but --                          13        A. Yes.
       14            MR. FREEDMAN: Go off the record.           14        Q. And then did you begin working as an
       15            THE VIDEOGRAPHER: Off the record at        15   accountant?
       16      8:38.                                            16        A. Yes, I did.
       17            (Whereupon, a discussion off the           17        Q. In 2008?
       18   record took place.)                                 18        A. I started from 2004.
       19            THE VIDEOGRAPHER: We are back on           19        Q. 2004 you were working as an
       20      the record at 8:39.                              20   accountant?
       21   BY MR. FREEDMAN:                                    21        A. That's right.
       22        Q. And finally, if you need a bathroom         22        Q. And how long did you continue




                                                                                     4 (Pages 10 to 13)
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                                                   Page 14                                                  Page 16
        1   working as an accountant?                            1   early '13 that I actually physically met Craig.
        2         A. Up to 2010.                                 2        Q. Okay.
        3         Q. Okay. Did you ever work as an               3        A. And from there we did bring Craig in
        4   accountant after 2010?                               4   as a, the expert cybersecurity to be able to
        5         A. I, well only on the projects that I         5   oversee the development of the product.
        6   was looking after full-time.                         6        Q. Got it. And did, similarly did
        7         Q. Got it. So you weren't --                   7   Craig involve you in his companies at that point?
        8         A. So, not outside, where my interests         8        A. No, no. It was after that period of
        9   weren't involved.                                    9   time.
       10         Q. Got it. When did you first learn           10        Q. Approximately when did Craig involve
       11   about Bitcoin?                                      11   you in his companies?
       12         A. Bitcoin, 2011.                             12        A. It would be 2014. Around about June
       13         Q. Okay. And how did you learn about          13   or July of 2014.
       14   Bitcoin?                                            14        Q. Okay. Do you recall what capacity
       15         A. It was part of my travels around the       15   he, Dr. Wright involved you in his companies?
       16   world where I was cross-examining a whole lot of    16        A. Because we were working on the
       17   cybersecurity experts looking for a solution that   17   Cryptoloc Solution for Your Digital File, he
       18   I have built today in the market.                   18   liked the way I was building the culture of the
       19         Q. Okay. So, can you tell me when you         19   team. And, he said to me Jamie, I want to start
       20   first met -- well, do you know Craig Wright?        20   a new project would you come on as a director.
       21         A. Yes, I do.                                 21            And also with my background you
       22         Q. Can you tell me when you first met         22   would become the CFO.
                                                   Page 15                                                  Page 17
        1   Craig Wright?                                        1        Q. Got it. So, he, Dr. Wright listed
        2        A. Craig Wright I would have met in             2   you as a director of various companies.
        3   2012.                                                3        A. That's correct.
        4        Q. And how did you come to meet him?            4        Q. Were you a director of Coin
        5        A. Through working and cross examining          5   Exchange?
        6   a whole lot of cybersecurity experts to build a      6        A. Yes.
        7   stronger solution.                                   7        Q. Were you a director of Integers?
        8        Q. And tell me about the solution that          8        A. Yes.
        9   you have now built.                                  9           MR. PASCHAL: Objection, form.
       10            Is that your digital file?                 10   BY MR. FREEDMAN:
       11        A. That's correct. So, our technology          11        Q. Were you a director of -- do you
       12   is called Cryptoloc which is a cryptographic        12   remember all of the companies you were director
       13   solution and we've got global patents which have    13   of?
       14   an escrow in a point of difference on a global      14        A. No, I don't.
       15   stage.                                              15        Q. Were you a director of
       16        Q. And you first spoke with Dr. Wright         16   Interconnected Research Pty?
       17   to help you build this technology?                  17        A. I would have to have a look at the
       18        A. That's correct, yes.                        18   ASX Register.
       19        Q. Along with a bunch of other --              19        Q. Were you a director of Hotwire
       20        A. So, I already had started in 2012.          20   Preemptive Intelligence Pty?
       21        Q. Okay.                                       21        A. Yes.
       22        A. So, it would have been like '12,            22        Q. Were you also a shareholder in some




                                                                                      5 (Pages 14 to 17)
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                                                   Page 18                                                 Page 20
        1   of these companies?                                 1         Q. Do you see where it says--
        2        A. Craig did gift me shares.                   2         A. 907, Interconnected Research Pty.
        3        Q. Okay.                                       3         Q. Does that help you remember if you
        4        A. But when I resigned, it was removed.        4   were the director of Interconnected Research Pty?
        5        Q. Okay. Were you, do you recall if            5         A. Yes, this one here was a company
        6   you became a shareholder of Coin Exchange Pty?      6   that I was set up when I was in New York which
        7        A. I'm positive I did, yes.                    7   would have been September or October, which Craig
        8        Q. Okay. And were you also the CFO for         8   signed me up as a director without my consent.
        9   Coin Exchange?                                      9         Q. Okay. Did you -- thank you,
       10        A. I was. So, for all companies I             10   Mr. Wilson.
       11   would have been the CFO.                           11             Did you ever help -- well, you know
       12        Q. Okay. And bear with me here.               12   what, before I take these back from you, do you
       13   Since, we had some printing trouble earlier so     13   recall writing these resignation letters?
       14   I'm trying to pull these up electronically.        14         A. Absolutely. And I physically handed
       15            Let me e-mail these to you guys.          15   it to Craig as well.
       16            I'm going to hand you what has been       16         Q. And these are the resignation
       17   produced in this litigation as Defense Australia   17   letters that you handed to Craig?
       18   108905 through 108908.                             18         A. That's right. And e-mailed.
       19            And we will mark it as Plaintiffs         19         Q. Okay. Did you ever help Craig set
       20   Exhibit 1.                                         20   up a trust?
       21               (Wilson Exhibit Number 1               21         A. No. One of our lawyers, who was
       22                marked for identification.)           22   also on the board of Your Digital File, called
                                                   Page 19                                                 Page 21
        1   BY MR. FREEDMAN:                                    1   Diane Pinder, was the one who looked after the
        2         Q. If you could start at the top and go       2   trust.
        3   forward. You guys should have it in your e-mail.    3         Q. Okay. And then as we have just seen
        4         A. The resignation letters.                   4   you have resigned in October of 2013.
        5         Q. Correct. So, if you take a look at         5         A. Yes.
        6   the date at the top for me, Mr. Wilson.             6         Q. Can you tell me why you resigned?
        7         A. 23rd of October, 2013.                     7         A. The reason for it is that I wasn't
        8         Q. So, does that help you potentially         8   feeling comfortable with the position of what was
        9   remember when you started working and when you      9   happening and not understanding everything behind
       10   ended working for Dr. Wright?                      10   the documentation and the accounts. That was the
       11         A. It would have been, so, Craig would       11   purpose of it.
       12   have come in, I would have to have a look at my    12             And also at the same time my ex-wife
       13   records. It would have been the end of 2011 and    13   had medical issues as well.
       14   2012.                                              14         Q. Okay. Can you explain to me a
       15         Q. Okay. And then you would have             15   little bit more what you meant, what you mean by
       16   resigned in October of 2013?                       16   you weren't comfortable with what was going on in
       17         A. Yes, I did, yes. After I returned         17   the documentation.
       18   from New York.                                     18         A. Well, in, the lead up to my
       19         Q. Okay. And if you take a look for me       19   resignation, and it would have been over a
       20   at the page that is marked at the bottom 108907,   20   12-month period, Craig did set up these
       21   it is the third down.                              21   companies. And I was working with Craig, prior
       22         A. Yep.                                      22   being on the board of White Ear and as an advisor




                                                                                     6 (Pages 18 to 21)
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                                                   Page 22                                                  Page 24
        1   to us in regards to development.                     1       A.    Taxation Office.
        2            But, my trouble was, and it was             2       Q.    Okay.
        3   exciting moving in with him to start working on      3              (Wilson Exhibit Number 2
        4   the new projects.                                    4               marked for identification.)
        5            But, where I didn't feel comfortable        5            MR. FREEDMAN: I have just sent
        6   is Craig's change of attitude from a developer       6      e-mails to you, counsel.
        7   that would be in hoodies and, you know, very low     7   BY MR. FREEDMAN:
        8   key and working with, to one that, that is it,       8        Q. But Mr. Wilson, I'm going to hand
        9   I've got to be the man, I've got to be the CEO,      9   you what has been produced in this litigation as
       10   new flash suits, ties, and it was just a massive    10   Defense 45496. And if you can take a look at it
       11   change from where he was conservative to right      11   for a second, specifically under the line is, it
       12   out there.                                          12   appears to be an e-mail from you to Craig. Do
       13            Also I didn't agree on the                 13   you see that?
       14   employment of the staff and the buildup of these    14        A. Yep.
       15   companies without understanding, the full           15        Q. Do you remember sending this e-mail?
       16   understanding, of where the funding was coming      16   You can take a second to familiarize yourself
       17   from.                                               17   with the document.
       18            So, I know there was a lot of              18            MR. PASCHAL: You going to be
       19   Bitcoin there. However, when I started to have a    19      e-mailing us documents or do you have
       20   look at the R&D and the claiming of the R&D,        20      physicals.
       21   research and development, for the Australia         21            MR. FREEDMAN: We are waiting for
       22   federal government I didn't feel comfortable when   22      them to print. But I will e-mail them to you
                                                   Page 23                                                  Page 25
        1   I noticed that these amounts were from a U.S.,       1      in the meantime.
        2   and at that time and I am still not aware if the     2             MR. PASCHAL: If you are e-mailing,
        3   money actually was funded by the U.S. government.    3      it takes a second to get to us, so let us
        4            And I thought, well hang on, the            4      look at it before you show it to him.
        5   Supreme Court of Australia has turned around and     5             THE WITNESS: That's correct.
        6   brought this IP into Australia, and now Craig is     6   BY MR. FREEDMAN:
        7   turning around and claiming the R&D on this          7         Q. So, you recognize this document?
        8   money, that was paid by the U.S. government.         8         A. Yes. And I did send it.
        9            And I thought, this to me looks             9         Q. Okay. And, can you tell me a little
       10   fraud. And, I want nothing to do with it.           10   bit about what happened in this e-mail?
       11        Q. So, you resigned?                           11         A. Okay. So, the reason for it was
       12        A. I resigned. And since then I have           12   that Craig wanted to increase his holdings within
       13   had many times with the Australia taxation          13   YDF, with --
       14   office, coming and investigate where I had to       14         Q. This is your company?
       15   give evidence and the breakdown of it, purely       15         A. That's correct. It was called the
       16   because of, they put me under a microscope, the     16   Digital Filing Company Pty Ltd which no longer
       17   ATO.                                                17   holds, in operation.
       18        Q. And has the ATO found that you did          18             The reason, I wasn't aware that the
       19   anything wrong?                                     19   transfer in these amounts had been done and, nor
       20        A. No, no.                                     20   the capitalization of these accounts with the
       21        Q. Okay. I am, and ATO is the                  21   listed on ASIC, hence why I did do the e-mail
       22   Australia Tax Office?                               22   just so that it was down on paper.




                                                                                      7 (Pages 22 to 25)
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                                                   Page 26                                                 Page 28
        1        Q. Let me break this down for you. The         1           MR. PASCHAL: Objection, form.
        2   capitalization of the accounts. Can you explain     2   BY MR. FREEDMAN:
        3   that a little bit to the jury?                      3        Q. Did you ever talk or e-mail with
        4        A. This is what the issue was. I               4   Dave Kleiman?
        5   didn't see the physical cash in the bank; it was    5        A. No. Not me personally, no.
        6   done by Bitcoin.                                    6        Q. Had you heard of Dave Kleiman?
        7        Q. There was a capitalization of, I'm          7        A. Yes, I had.
        8   looking at your e-mail, looking at a                8        Q. Okay. How did you hear of Dave
        9   capitalization of eight and a half million          9   Kleiman?
       10   dollars?                                           10        A. Through Craig, saying it was his
       11        A. Correct.                                   11   best mate and that they had been working on
       12        Q. $40 million?                               12   projects together.
       13        A. That's right.                              13        Q. Okay. Did he describe him as his
       14        Q. $30 million.                               14   partner?
       15        A. That's right.                              15        A. He, no, a good mate.
       16        Q. Suffice to say 10s and 10s of              16        Q. I don't mean a romantic partner, I
       17   millions of Bitcoin?                               17   mean like a business partner?
       18        A. Oh, absolutely. And "Craig I see           18        A. No, no, no. A business partner.
       19   you have issued shares to me personally and I'm    19        Q. Did he describe him as a business
       20   not aware this was done already. This needs to     20   partner?
       21   be fully accounted for as we are dealing with a    21        A. Yes.
       22   publically listed company." And that was Rubik     22        Q. And somebody he was working with on
                                                   Page 27                                                 Page 29
        1   over in Australia.                                  1   projects with?
        2            They also were investigated by the         2        A. That's right.
        3   Australia Taxation Office in regards to the         3        Q. Did you understand that to be
        4   matter with Craig.                                  4   intellectual property projects?
        5        Q. Got it. And did you ever sit down           5        A. No.
        6   with Craig and discuss this e-mail with him?        6        Q. What type of projects did you
        7        A. I can't recall.                             7   understand it to be?
        8        Q. Okay.                                       8        A. I only understood later on, when I
        9        A. But the response is there from              9   was going through the paperwork to do the R&D,
       10   Craig, too, it doesn't allow this right now, but   10   that all of the material of the break up of the
       11   we have the following, oh, capitalization, that,   11   money that Dave Kleiman was actually on all of
       12   why didn't Xero do it? Because it didn't have      12   these applications, all of the grants for the
       13   Bitcoin at that stage of the currency.             13   federal, the U.S. government.
       14        Q. Got it. What happened to all of            14             So, that is how I started to become
       15   your shares in these businesses after you          15   aware of it.
       16   resigned, Jamie?                                   16             Craig is not forthcoming with
       17        A. Oh, they were just removed.                17   information. It is a very slow feed. But, the
       18        Q. Okay. During the time that you             18   longer I was there, the more I started to realize
       19   worked for, or with Dr. Wright, so that would be   19   that this is not correct way of doing business.
       20   from about 2011 to 2000 -- October of 2013.        20        Q. I see. So you don't have much
       21        A. '13.                                       21   details about what they worked on.
       22        Q. Did you ever --                            22             You just know that they worked on it




                                                                                     8 (Pages 26 to 29)
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        1   together. Is that fair?                              1   accountant, I was not given full control, nor did
        2        A. That's correct.                              2   I even have access to zero.
        3            MR. PASCHAL: Objection, form.               3         Q. Okay. So, during the time you were
        4   BY MR. FREEDMAN:                                     4   director and shareholder and the CFO of Coin
        5        Q. Okay. Do you have a lot of details           5   Exchange, did Craig ever tell you that Dave
        6   about what they worked on together?                  6   Kleiman was also a shareholder of Coin Exchange?
        7        A. No.                                          7         A. No.
        8        Q. There may be times when opposing             8               (Wilson Exhibit Number 3
        9   counsel lodges an objection to the way I'm asking    9                marked for identification.)
       10   you a question.                                     10   BY MR. FREEDMAN:
       11            So you may hear me ask a question          11         Q. Mr. Wilson, I'm handing you what we
       12   more than once.                                     12   are going to mark as Plaintiffs Exhibit 3? And
       13            If you could just answer it again.         13   it is a Document 83-5. It is an exhibit to the
       14        A. Okay.                                       14   plaintiff's complaint.
       15        Q. Did Craig ever talk to you about            15            Can you take a look at this document
       16   Dave Kleiman's intent about anything?               16   and let me know if you have ever seen it before?
       17        A. No.                                         17         A. No, I haven't.
       18        Q. Okay. Bear with me one second.              18         Q. Okay. Do you see -- if you go to
       19            So, Mr. Wilson, I think you told me        19   Page 1 of 9 for me. Or 3 of 11 at the top.
       20   before that you were Director of Coin Exchange;     20         A. 3 of 11.
       21   is that correct?                                    21         Q. Do you see that?
       22        A. Correct.                                    22         A. Yes.
                                                   Page 31                                                  Page 33
        1           MR. PASCHAL: Objection, form.                1       Q. It says The agreement is between
        2   BY MR. FREEDMAN:                                     2   Dave Kleiman of W&K Info Defense Florida. Are
        3       Q. You also were a shareholder of Coin           3   you familiar with this Florida company W&K Info
        4   Exchange or were you, were you or were you not a     4   Defense LLC?
        5   shareholder of Coin Exchange?                        5       A. I became aware of it when I was done
        6           MR. PASCHAL: Objection, form.                6   the R&D and realized that the W&K Info Defense
        7           THE WITNESS: I was given shares.             7   LLC was a part of it. That is why I started
        8   BY MR. FREEDMAN:                                     8   questioning a lot.
        9       Q. Sorry, go ahead.                              9       Q. Were you ever a director of W&K Info
       10       A. I was given shares by, gifted shares         10   Defense LLC?
       11   by Craig.                                           11       A. No.
       12       Q. Did you serve as its CFO?                    12       Q. Were you ever a shareholder of W&K
       13       A. Yes.                                         13   Info Defense LLC?
       14           MR. PASCHAL: Objection, form.               14       A. No.
       15   BY MR. FREEDMAN:                                    15       Q. Were you ever an officer of W&K LLC?
       16       Q. Were you, did you handle the                 16       A. No. I wasn't even aware of it.
       17   accounts for Coin Exchange?                         17       Q. Did you ever have anything to do
       18       A. No. And what is strange is I didn't          18   with -- strike that.
       19   actually handle the accounts for any of it.         19            If you turn to Page 5 of 11 at the
       20   There was a bookkeeper that was involved.           20   top. You will see Paragraph 4B.
       21           So, although I had the title of the         21       A. Yes.
       22   CFO, Chief Financial Officer, my capacity as an     22       Q. And it says, "Except the vendor's"




                                                                                      9 (Pages 30 to 33)
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       1   and the vendor is on Page 3, the vendor is Dave      1        A. Or he did fly to the States.
       2   Kleiman of W&K Defense Info Research, "So accept     2        Q. Did you notice a change in Craig
       3   Dave Kleiman's 323,000 remaining mined Bitcoin as    3   from before and after Dave died?
       4   a 49.5 percent stake in a new venture to be          4            MR. PASCHAL: Objection, form.
       5   formed in Australia to be called Coin Exchange       5            THE WITNESS: Yes.
       6   Pty Ltd."                                            6   BY MR. FREEDMAN:
       7            Do you see that?                            7        Q. Okay. Can you expand on what that
       8        A. I do. But if you have a look at the          8   change was?
       9   ASX registers it will turn around and advise you     9        A. The change was from Craig, as I
      10   of the history of the directors of the company.     10   stated before, being a developer, security,
      11        Q. So you were never aware of this             11   hoodie, you know, very much --
      12   agreement or --                                     12            MR. FREEDMAN: Sorry.
      13        A. No, this is the first time I have           13            THE WITNESS: You know, wearing
      14   seen it.                                            14      hoodies and things like that, when I would
      15            MR. PASCHAL: Objection to form.            15      have meetings down in Sydney, he would turn
      16   BY MR. FREEDMAN:                                    16      up and we'd go to a little cafe shop and
      17        Q. Were you ever aware of this                 17      things like that where the train station was.
      18   agreement?                                          18            Once Dave had passed away and things
      19        A. No.                                         19      started to get kicked off with these new
      20            MR. PASCHAL: Objection to form.            20      companies, there was a matter of all of a
      21   BY MR. FREEDMAN:                                    21      sudden he had to dress in flash suits, you
      22        Q. Were you ever aware that Dave had           22      know, wear the best watches, shoes,
                                                  Page 35                                                  Page 37
      1    reportedly bought an interest in Coin Exchange?      1       fascination with socks.
      2             MR. PASCHAL: Objection to form.             2             Even down to vehicles. He moved
      3             THE WITNESS: No. This is                    3       from his normal Subaru which was beaten up
      4       April 2013.                                       4       and went and got a brand new car. It was
      5    BY MR. FREEDMAN:                                     5       just a massive change in lifestyle. It
      6         Q. So, you were the CFO, in April of            6       wasn't the Craig I originally met.
      7    2013 -- strike that.                                 7   BY MR. FREEDMAN:
      8             What positions did you hold in Coin         8         Q. So, I want to drill down on that a
      9    Exchange in April of 2013?                           9   little bit more.
     10         A. I'm not too sure when I, when it was        10             Before Dave died you said Craig
     11    kicked off and when I was added as a director. I    11   dressed in hoodies?
     12    would have to go through the ASX Register.          12         A. Yes.
     13         Q. Okay. Thank you.                            13         Q. Can you expand a little bit more?
     14         A. That previous -- oh, not to worry.          14         A. Yes, tee shirts, normal sort of
     15         Q. Okay. Mr. Wilson, were you aware            15   developer sort of clothes. You could tell -- I
     16    that Dave Kleiman died in April of 2013?            16   mean Craig is a very bright, very smart man.
     17         A. Yes.                                        17         Q. Right.
     18         Q. How did you know that Dave died?            18         A. As I have said before, one of the
     19         A. Craig said to me a good mate of his         19   greater futurists I have actually come across.
     20    just passed away, and I believe he came over to     20             But it was just disappointing to see
     21    Florida.                                            21   the way the business was handled moving forward.
     22         Q. Okay.                                       22   And his arrogance, believing that he has got to




                                                                                   10 (Pages 34 to 37)
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      1   change himself, I think just caused him a lot of     1   out of a team of around about ten, there was
      2   problems.                                            2   about $15,000 spent on the evening, all paid by
      3        Q. Beyond the physical change of going          3   Craig.
      4   from hoodies to suits and expensive watches, did     4        Q. Was that something Craig would have
      5   you see a change in his attitude at all?             5   done prior? Is that something you had seen Craig
      6            MR. PASCHAL: Objection, form.               6   do prior to Dave's death?
      7            THE WITNESS: Yes.                           7        A. No, absolutely not. I mean, prior
      8   BY MR. FREEDMAN:                                     8   to Dave's passing, I was the one buying the
      9        Q. Did he suddenly have confidence?             9   coffees and spending the money travelling back
     10   What was the change?                                10   and forward.
     11        A. Oh, the confidence went through the         11        Q. And then thereafter?
     12   roof. It was a matter of I'm the man, I'm going     12        A. It was a matter of he would even fly
     13   to do this, this is the way I'm going to go about   13   his team up to Brisbane. We would all go out
     14   it.                                                 14   together. Craig would actually pay for everyone
     15            Whereas a lot more humble prior to         15   who came along.
     16   Dave's passing.                                     16        Q. Did it appear to you that after Dave
     17        Q. And, how quickly after Dave's               17   died, Craig had access to massive amounts of
     18   passing did this happen?                            18   assets that he did not previously have before?
     19        A. I would have said June/July.                19            MR. PASCHAL: Objection to form.
     20        Q. Did you understand, did you ever            20            THE WITNESS: The money came from
     21   come to have an understanding of why there was      21      somewhere.
     22   this sudden shift in his personality?               22   BY MR. FREEDMAN:
                                                 Page 39                                                 Page 41
      1            Did it have to do with money or any,        1       Q. Sorry, go ahead?
      2   I mean, tell me, did you see any -- strike that.     2       A. I believe that there was a change,
      3            Did you ever come to have an                3   and overnight he had a lot of wealth.
      4   understanding of why there was a sudden, a           4       Q. Okay.
      5   massive shift in Craig's outward appearance?         5       A. But, at the same time I know that he
      6            MR. PASCHAL: Objection, form.               6   was in the very early stages of Bitcoin as well.
      7            THE WITNESS: No.                            7           MR. FREEDMAN: Can we take a, let's
      8   BY MR. FREEDMAN:                                     8     go off the record for a minute.
      9        Q. Okay.                                        9           THE VIDEOGRAPHER: Off the record at
     10        A. It was only when time has gone by.          10     9:07.
     11        Q. Beyond flashy watches, suits, new           11           (Recess taken -- 9:07 a.m.)
     12   cars, did you see any other sudden displays of      12           (After recess -- 9:12 a.m.)
     13   wealth?                                             13           THE VIDEOGRAPHER: We are back on
     14            MR. PASCHAL: Objection, form.              14     the record at 9:12.
     15            THE WITNESS: Yes.                          15   BY MR. FREEDMAN:
     16   BY MR. FREEDMAN:                                    16       Q. Mr. Wilson, I'm handing you what has
     17        Q. Can you expand on that?                     17   been marked as Wilson 4, and it is, it was
     18        A. I did have a Christmas party and            18   produced in this litigation as Defense 28015.
     19   Craig and Ramona joined us at the event that        19              (Wilson Exhibit Number 4
     20   night.                                              20               marked for identification.)
     21            I mean, Craig was very much, you           21   BY MR. FREEDMAN:
     22   know, the best of the Champagne, top shelf, and     22       Q. Mr. Wilson, do you recognize this




                                                                                  11 (Pages 38 to 41)
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      1   e-mail as an e-mail from Craig to you?              1        A. It would be the money that he had
      2        A. Yes.                                        2   from Bitcoin.
      3        Q. Do you recall this e-mail?                  3        Q. Okay.
      4        A. Yes, I do.                                  4            MR. PASCHAL: What was that marked
      5        Q. And in it it says, "This is where           5      as?
      6   this started. All of this started to move much      6            THE REPORTER: Five.
      7   faster now. Dave passed a couple of months ago      7            MR. ROCHE: This is Kyle Roche, is
      8   so I'm no longer waiting for him to get better."    8      there any way we can move the mic closer to
      9        A. Correct.                                    9      Mr. Wilson?
     10        Q. Did you ever talk to Craig about           10            MR. FREEDMAN: Kyle, we are not sure
     11   what he meant by this e-mail?                      11      how to work the system here, so ...
     12        A. No.                                        12            MR. ROCHE: Okay.
     13        Q. Do you know why he sent it to you?         13              (Wilson Exhibit Number 6
     14            MR. PASCHAL: Objection, form.             14               marked for identification.)
     15            THE WITNESS: I think it was all           15   BY MR. FREEDMAN:
     16      mainly to deal with the attachments and all     16        Q. Mr. Wilson, I am handing you what
     17      of the files.                                   17   has been marked as Wilson 6. It has been
     18   BY MR. FREEDMAN:                                   18   produced in this litigation as Defense 25094.
     19        Q. Okay.                                      19            Can you take a moment to review this
     20        A. And it was more about let's get            20   e-mail, Mr. Wilson, and let me know if you
     21   going.                                             21   recognize it as an e-mail from Craig Wright to
     22               (Wilson Exhibit Number 5               22   you?
                                                 Page 43                                                 Page 45
      1                 marked for identification.)           1        A. Yes, I do.
      2   BY MR. FREEDMAN:                                    2        Q. Okay. This e-mail is also addressed
      3        Q. Okay. Mr. Wilson, I'm handing you           3   to Michael Hardy at the Australia Tax Office; is
      4   an exhibit marked as Wilson 5. It was marked in     4   that correct?
      5   this litigation, it has been produced in this       5            MR. PASCHAL: Objection, form.
      6   litigation as Defense 266797.                       6   BY MR. FREEDMAN:
      7             If you can take a look at this            7        Q. Mr. Wilson?
      8   e-mail. Do you recognize it as an e-mail from       8        A. I'm not sure if Michael was the one
      9   Craig with a cc: to you?                            9   from the ATO.
     10        A. Yes.                                       10        Q. Okay. Do you remember getting this
     11        Q. And in it, Craig says, "Hello Love."       11   e-mail from Craig?
     12   I'm assuming that is addressed to Ramona.          12        A. Yes, I do.
     13        A. Correct.                                   13        Q. In this e-mail, Mr. Wilson, Craig
     14        Q. "Well I said I would be doing              14   says that "The main addresses we control as a
     15   something with that money. And there is a link,    15   group include the following ones listed below."
     16   Jamie is on board."                                16   Do you see that?
     17             Do you know what money he is             17        A. It is in the middle.
     18   referring to?                                      18        Q. Yes, right at the top the first
     19             MR. PASCHAL: Objection, form.            19   sentence, the main address that we control as a
     20             THE WITNESS: Well, yes.                  20   group?
     21   BY MR. FREEDMAN:                                   21            MR. PASCHAL: Where are you reading
     22        Q. Which money?                               22      from?




                                                                                 12 (Pages 42 to 45)
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      1   BY MR. FREEDMAN:                                    1            MR. PASCHAL: Objection, form.
      2        Q. It says, "Hello Michael, as we noted        2            THE WITNESS: Yes. 100 percent.
      3   there are a couple of recent transactions."         3   BY MR. FREEDMAN:
      4            At the end of that sentence, it            4        Q. Did Craig ever tell you that these
      5   says, "The main addresses we control as a group     5   Bitcoin were locked in a file that he could not
      6   include the following ones listed below."           6   access?
      7            Do you see that?                           7        A. No, he could access them.
      8        A. Yes.                                        8        Q. Okay. This was in -- so, let's go
      9        Q. And then do you see, if you go to           9   back here where it says, "These addresses are in
     10   the paragraph that starts, "The addresses are in   10   my control through fate and other circumstances.
     11   my control."                                       11            "David Reese and David Kleiman have
     12        A. Yes.                                       12   both been central parts of this project.
     13        Q. It says, "The addresses are in my          13            "Both of these gentlemen, who I had
     14   control now."                                      14   the good fortune to call friends, passed away
     15            Did, and then, sorry, "The addresses      15   this year. David Reese was a friend of my
     16   are in my control now as a matter of fate and      16   grandfather before he died of Parkinson's. Dave
     17   other circumstances."                              17   Kleiman was my best friend."
     18            Do you see that?                          18            Do you know what he means by fate
     19        A. Yes.                                       19   and other circumstances?
     20        Q. "David Reese and David Kleiman have        20            MR. PASCHAL: Objection, form.
     21   both been a central part of this project."         21            THE WITNESS: No.
     22        A. Yes.                                       22   BY MR. FREEDMAN:
                                                 Page 47                                                 Page 49
      1         Q. And then, right above the little           1         Q. Let me rephrase that. Did you ever
      2   graphic he says, "The addresses are," and there     2   come to understand what he meant by fate and
      3   is a list of addresses. Do you see that?            3   other circumstances?
      4         A. Yes, correct.                              4         A. No.
      5         Q. Do you see where it says balance           5             MR. PASCHAL: Objection, form.
      6   XBT?                                                6   BY MR. FREEDMAN:
      7         A. Yes.                                       7         Q. Did he ever tell you what fate and
      8         Q. That is the Bitcoin balance?               8   other circumstances meant?
      9             MR. PASCHAL: Objection, form.             9         A. No. And I didn't ask the question
     10   BY MR. FREEDMAN:                                   10   either.
     11         Q. Do you recognize that as a Bitcoin        11         Q. Did he ever give you any more -- did
     12   balance?                                           12   Craig -- strike that.
     13         A. Yes.                                      13             Did Craig ever give you any more
     14         Q. And it says Australia dollars and         14   color or explanation on what he meant by Dave was
     15   there is figures underneath that?                  15   a "an essential part of this project"?
     16         A. Correct.                                  16             MR. PASCHAL: Objection, form.
     17         Q. And then there is some additional         17             THE WITNESS: Yes. In that they
     18   wallets, addresses listed below that under the     18      worked together.
     19   title Coin and Other?                              19             Now, I believed that Dave was the
     20         A. That's right.                             20      original start. He started looking on the
     21         Q. Did Craig lead you to believe that        21      Blockchain. And then later on Craig joined
     22   he had the ability to access this Bitcoin?         22      it; it was a joint thing together, though.




                                                                                 13 (Pages 46 to 49)
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      1    BY MR. FREEDMAN:                                     1             THE WITNESS: Right.
      2         Q. And did you form that belief through         2             MR. FREEDMAN: -- try to let me
      3    statements Craig made to you?                        3      finish.
      4         A. Yes.                                         4             MR. PASCHAL: And I object, form, to
      5         Q. Okay. When he refers to "this                5      all of that.
      6    project," did you take that to mean the mining of    6   BY MR. FREEDMAN:
      7    all of this Bitcoin?                                 7        Q. So, when you received this e-mail,
      8         A. Yes.                                         8   were you under the impression that this was a
      9             MR. PASCHAL: Objection, form.               9   snapshot of Bitcoin wallets that Craig had access
     10    BY MR. FREEDMAN:                                    10   to?
     11         Q. How did you take the project to mean        11             MR. PASCHAL: Objection, form.
     12    when he said Dave was an essential part of this,    12             THE WITNESS: Yes.
     13    of the, of this project? How did you take "this     13   BY MR. FREEDMAN:
     14    project" to mean?                                   14        Q. Thank you.
     15             MR. PASCHAL: Objection, form.              15               (Wilson Exhibit Number 7
     16             THE WITNESS: It was the mining.            16                marked for identification.)
     17    BY MR. FREEDMAN:                                    17   BY MR. FREEDMAN:
     18         Q. The mining of?                              18        Q. Okay. Mr. Wilson, I'm handing you
     19         A. Bitcoin.                                    19   what has been marked as Wilson 7. It has been
     20         Q. Okay. Thank you.                            20   produced in this litigation as Defense Australia
     21             Do you see if you turn the page over       21   553926.
     22    to Defense 25095, do you see there is a graphic     22             Mr. Wilson, do you recognize this
                                                  Page 51                                                  Page 53
       1   down there?                                          1   e-mail as an e-mail Craig sent to you, with a cc:
       2        A. Yes.                                         2   to you, rather?
       3        Q. And if you look 1, 2, 3, 4, 5, about         3        A. Yes.
       4   six up from the top, from the bottom, do you see     4        Q. And it was sent on October 2nd,
       5   where it says CSW-Dave K-DV?                         5   2013?
       6        A. That's correct.                              6        A. Yes.
       7        Q. Do you know what this wallet was?            7        Q. And it is also sent to Jenna Spears
       8        A. No.                                          8   at the Australia Tax Office and Michael Hardy at
       9            MR. PASCHAL: Objection, form.               9   the Australia Tax Office?
      10   BY MR. FREEDMAN:                                    10        A. Yes.
      11        Q. Do you know why there is a redaction        11        Q. Do you recall receiving this e-mail?
      12   of the address?                                     12        A. Yes.
      13        A. No.                                         13        Q. In this e-mail do you see where
      14        Q. Do you see at the top of the graphic        14   Craig says in the second paragraph, "The group I
      15   it says Bitcoin Wallet?                             15   head has a holding of over 100 million Australian
      16        A. Yes.                                        16   dollars in XBT Bitcoin"?
      17        Q. Did you take, when you received this        17        A. Yes.
      18   e-mail, did you understand it to be a snapshot of   18        Q. Did you ever talk to Craig about
      19   wallets that Craig, Bitcoin wallets that --         19   this e-mail?
      20            MR. FREEDMAN: It is tough. I know          20        A. No. This was in regards to -- so,
      21      you know where I'm going, but for purposes of    21   Michael Hardy, now it does -- I do remember.
      22      the court reporter --                            22   This was in regards to the tax returns and also




                                                                                   14 (Pages 50 to 53)
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      1   the R&D, research and development.                   1   a holding in excess of 111,114 Bitcoin. The
      2        Q. Did Craig lead you to believe                2   above address we have confirmed control of is
      3   through this e-mail that he had the control over     3   valued at market, on market at Australian
      4   $100 million in Bitcoin?                             4   $16.4 million."
      5        A. Yes.                                         5         A. Yes.
      6             MR. PASCHAL: Objection, form.              6         Q. Did you take this e-mail, did you
      7   BY MR. FREEDMAN:                                     7   understand from this e-mail that Craig had
      8        Q. Did he ever tell you that this               8   control over a Bitcoin address with over 111,000
      9   $100 million in Bitcoin was locked in a file that    9   Bitcoin in it?
     10   he could not access?                                10         A. Yes.
     11             MR. PASCHAL: Objection, form.             11            MR. PASCHAL: Objection, form.
     12             THE WITNESS: No.                          12   BY MR. FREEDMAN:
     13   BY MR. FREEDMAN:                                    13         Q. Did you ask Craig what he meant by
     14        Q. Did he ever tell you it was locked          14   we have confirmed control over it?
     15   in a -- strike that.                                15         A. No. I was aware that he did have
     16                (Wilson Exhibit Number 8               16   control of it.
     17                 marked for identification.)           17         Q. Okay. Did he ever tell you that
     18   BY MR. FREEDMAN:                                    18   this Bitcoin was locked in a file that he could
     19        Q. Mr. Wilson, I am handing you what           19   not access?
     20   has been marked as Wilson 8. It has been            20            MR. PASCHAL: Objection, form.
     21   produced in this litigation as Defense 45457.       21            THE WITNESS: When we talk about is
     22        A. Thank you.                                  22      it locked, all of them are locked and Craig,
                                                  Page 55                                                 Page 57
      1        Q. Take a look at this e-mail for me,           1      my understanding, did have access to them.
      2   Mr. Wilson, and tell me do you recognize this as     2   BY MR. FREEDMAN:
      3   an e-mail that Craig sent with a cc: to you?         3        Q. So, let me rephrase that.
      4        A. Yes.                                         4             Did he ever tell you that it was
      5        Q. This e-mail was also sent to Michael         5   locked in a file that Craig could not access
      6   Hardy of the ATO; is that correct?                   6   himself?
      7        A. Correct.                                     7        A. No.
      8        Q. And Mark Italia of the ATO?                  8                (Wilson Exhibit Number 9
      9        A. Yes.                                         9                 marked for identification.)
     10        Q. Do you see where he says, "I have           10   BY MR. FREEDMAN:
     11   also attached a stat dec." Is that a statutory      11        Q. Okay. Mr. Wilson, I am handing you
     12   declaration? "From our solicitors validating the    12   what has been marked as Wilson 9, it was produced
     13   control of a number of Bitcoin-based addresses."    13   in this litigation as Defense Force 46093.
     14        A. Yes.                                        14             Mr. Wilson, do you recognize this
     15        Q. "You can validate the amount held in        15   e-mail as an e-mail that Craig sent with a cc: to
     16   these publicly. For instance," and there is a       16   you?
     17   link with the block Explorer with the Bitcoin       17        A. Yes.
     18   address that begins 1933?                           18        Q. It was also sent to Mark Italia of
     19        A. Yes.                                        19   the ATO?
     20        Q. Do you see that?                            20        A. Yes.
     21        A. Yes.                                        21        Q. And Michael Hardy of the ATO?
     22        Q. And then the next paragraph. "With          22        A. Yes.




                                                                                  15 (Pages 54 to 57)
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       1       Q. With a cc: to Ramona Watts?                   1   Exhibit 10. It was produced in this litigation
       2       A. Yes.                                          2   as Defense Australia 113043.
       3       Q. Do you see where it says about                3           If you take a look, do you see the
       4   midway through that e-mail, "Our funding comes as    4   e-mail at the top of the page, this is a -- do
       5   we are the group that controls 5 percent of the      5   you recognize this as an e-mail that Craig sent
       6   global Bitcoin market"?                              6   to you?
       7       A. Yes.                                          7        A. Yes.
       8       Q. Do you remember receiving this                8        Q. It also went to Roger Manu of Rubik?
       9   e-mail?                                              9        A. Correct.
      10       A. Yes.                                         10        Q. In it Craig says, "XBT Bitcoin has a
      11       Q. Did you ever ask Craig about how he          11   currency. There are 11 million Bitcoin. Look at
      12   came to control 5 percent of the global Bitcoin     12   the exchange rate in XE.com." And then, "We
      13   market?                                             13   control what is, all up, a little over 1 million
      14       A. My understanding is that he was the          14   Bitcoin."
      15   founder.                                            15           Do you see that?
      16       Q. Okay. Did he ever tell you, did he           16        A. Correct.
      17   lead you to believe that he had control over the    17        Q. Do you recall receiving this e-mail?
      18   5 percent of the Bitcoin?                           18        A. Yes.
      19       A. Yes.                                         19        Q. Did you believe by receiving this
      20           MR. PASCHAL: Objection, form.               20   e-mail that Craig controlled over 1 million
      21      Mischaracterizes the document.                   21   Bitcoin?
      22   BY MR. FREEDMAN:                                    22        A. Yes.
                                                  Page 59                                                  Page 61
      1         Q. Did he ever tell you that this               1            MR. PASCHAL: Objection to form.
      2    5 percent of Bitcoin that he had control of was      2   BY MR. FREEDMAN:
      3    locked in a file that he could not access?           3        Q. Was this statement that he
      4         A. No.                                          4   controlled, all up, a little over 1 million
      5             MR. PASCHAL: Objection,                     5   Bitcoin consistent with other statements that
      6       mischaracterizes the document and his             6   Craig had told you?
      7       testimony.                                        7            MR. PASCHAL: Objection, form.
      8             MR. FREEDMAN: Mr. Paschal, I have           8            THE WITNESS: Yes.
      9       an e-mail from Mr. Kass specifically asking       9   BY MR. FREEDMAN:
     10       me to limit my objections to form in depos.      10        Q. Did Craig ever tell you that this
     11             I would request that you do the            11   over 1 million Bitcoin was locked in a file that
     12       same.                                            12   he could not access?
     13             MR. KASS: I would like to see that         13            MR. PASCHAL: Objection, form.
     14       e-mail if you've got it. We've had               14            THE WITNESS: No.
     15       discussions.                                     15            MR. FREEDMAN: As a mechanics issue,
     16             MR. FREEDMAN: Please keep your             16     if I ask the question, take a beat before you
     17       objection to form.                               17     answer and give Mr. Paschal a chance to
     18                (Wilson Exhibit Number 10               18     object.
     19                 marked for identification.)            19            THE WITNESS: Okay.
     20    BY MR. FREEDMAN:                                    20            MR. PASCHAL: Otherwise we are
     21         Q. Mr. Wilson, I am handing you what           21     talking over each other.
     22    has been marked as defense, sorry, as Wilson        22            THE WITNESS: Done.




                                                                                   16 (Pages 58 to 61)
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                                                 Page 62                                                  Page 64
       1   BY MR. FREEDMAN:                                   1        A. Yes.
       2       Q. Mr. Wilson, I'm handing you what has        2        Q. Did you ever talk to Craig about
       3   been marked as Wilson 11.                          3   this e-mail?
       4             (Wilson Exhibit Number 11                4        A. It was ongoing conversations.
       5              marked for identification.)             5        Q. Okay. All consistent with the story
       6   BY MR. FREEDMAN:                                   6   that, what?
       7       Q. It was produced in this litigation          7        A. All of these Bitcoin holdings.
       8   as Defense 30127.                                  8        Q. Okay. Did he ever tell you that
       9           Do you recognize this e-mail as an         9   this Bitcoin was locked in an inaccessible file
      10   e-mail Craig sent to -- with a cc: to you?        10   to him?
      11       A. Yes.                                       11        A. No.
      12       Q. It is also sent to Mr. Dempster at         12        Q. Thank you, Mr. Wilson.
      13   the ATO?                                          13            So I can stop asking the question a
      14       A. Yes.                                       14   million times, Mr. Wilson, did Craig ever tell
      15       Q. And the subject is Evidence?               15   you that Bitcoin he owned or controlled was
      16       A. Yes.                                       16   locked in a file that he could not access?
      17       Q. And in it there is a listing of            17            MR. PASCHAL: Objection, form.
      18   companies, a Coin Exchange and CSW Personal?      18            THE WITNESS: No.
      19       A. Yes.                                       19              (Wilson Exhibit Number 12
      20       Q. With the Bitcoin holdings of 438,000       20               marked for identification.)
      21   and 57,000?                                       21   BY MR. FREEDMAN:
      22       A. Yes.                                       22        Q. Mr. Wilson, I'm handing you what has
                                                 Page 63                                                  Page 65
      1         Q. The value of those Bitcoin on              1   been marked as Wilson 12. It was produced in
      2    Mt. Gox which totals to 53.8 million.              2   this litigation as Defense 46098.
      3         A. Correct.                                   3             Do you recognize this as an e-mail
      4             MR. PASCHAL: Objection, form.             4   Craig sent with a cc: to you?
      5    BY MR. FREEDMAN:                                   5        A. Yes.
      6         Q. Okay. And then, "My wallet is              6        Q. Do you remember receiving it?
      7    listed below."                                     7        A. Yes.
      8             Do you see that?                          8        Q. Do you see about halfway down the
      9         A. Yes.                                       9   sentence says, "We control 165 million in XBT
     10         Q. Did you take this e-mail to -- did        10   Bitcoin"?
     11    you take this e-mail to tell you that -- sorry,   11        A. Yes.
     12    strike that.                                      12        Q. Did you understand this e-mail to
     13             Did you understand from this e-mail      13   tell you that Craig controlled over 165 -- sorry,
     14    that Craig owned, controlled and owned and        14   strike that.
     15    controlled over $53 million worth of Bitcoin?     15             Did you take this e-mail -- strike
     16             MR. PASCHAL: Objection, form.            16   that.
     17             THE WITNESS: Yes.                        17             Did you understand this e-mail to
     18    BY MR. FREEDMAN:                                  18   say that Craig controlled $165 million worth of
     19         Q. In fact, close to 500,000 Bitcoin?        19   Bitcoin?
     20         A. Yes.                                      20             MR. PASCHAL: Objection, form.
     21         Q. Do you remember receiving this            21             THE WITNESS: Yes.
     22    e-mail?                                           22                (Wilson Exhibit Number 13




                                                                                 17 (Pages 62 to 65)
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       1                 marked for identification.)            1      extremely wealthy myself from the holdings
       2   BY MR. FREEDMAN:                                     2      and the gifting of the Bitcoin to myself.
       3        Q. Mr. Wilson, I'm handing you what has         3               (Wilson Exhibit Number 14
       4   been marked as Wilson 13.                            4                marked for identification.)
       5             It was produced in this litigation         5   BY MR. FREEDMAN:
       6   as Defense 467687.                                   6        Q. Mr. Wilson, I'm handing you what has
       7             Do you recognize, and if you look at       7   been marked as Wilson 14. It is Document 83-4.
       8   the second e-mail on the page, do you recognize      8            If you open that up Mr. Wilson and
       9   this as an e-mail from Craig addressed to you and    9   take a look, do you recognize this as an
      10   other individuals at Hotwire?                       10   affidavit Craig Wright submitted to the Supreme
      11        A. Yes.                                        11   Court of New South Wales?
      12        Q. Do you remember receiving it?               12        A. Yes.
      13        A. Yes.                                        13        Q. Can you turn to Paragraph 23?
      14        Q. If you look at the last sentence of         14        A. Yes.
      15   the first paragraph it says, "A $5 million          15        Q. In it Craig writes, "On first of
      16   Bitcoin fund was world news and TV globally. We     16   August 2013 a shareholder's meeting was called
      17   make this look like a mom and pop operation from    17   for W&K Info Defense LLC to be held on the 16th
      18   the Winkly Bros."                                   18   of August 2013.
      19             Do you see that?                          19            "The meeting was e-mailed to the
      20        A. Yes.                                        20   company address as well as sent to the address of
      21        Q. What did you understand that                21   the shareholders and company.
      22   sentence to say?                                    22            "The shareholding of W&K Info
                                                  Page 67                                                  Page 69
       1             MR. PASCHAL: Objection, form.              1   Defense LLC was Craig S. Wright 50 percent; David
       2             THE WITNESS: That Craig's holding          2   A. Kleiman 50 percent. "
       3      is a lot greater than the small amount that       3            And in Paragraph 24, "The meeting
       4      the Winkler Brothers was trying to set up the     4   from Point 23, the meeting was held on the 16th
       5      fund.                                             5   of August 2013.
       6   BY MR. FREEDMAN:                                     6            "The following people were present.
       7        Q. Mr. Wilson, when you finally did             7   Jamie Wilson, Craig S. Wright." Do you see that?
       8   have access to some of the books in the company,     8        A. Yes.
       9   did you see specific and identifiable wallet         9        Q. Did this meeting ever occur?
      10   addresses?                                          10        A. Yes.
      11        A. Yes. Craig showed me, like on               11        Q. What happened at that meeting?
      12   screen.                                             12        A. Craig said to me that with David's
      13        Q. Okay. Outside of the e-mails we             13   passing that we needed to do the paperwork for
      14   have just looked at, did Craig lead you to          14   him to turn around and take full control and
      15   believe that he had a massive amount of Bitcoin?    15   resolve the issue of David being on the, as a
      16        A. Yes.                                        16   shareholder.
      17             MR. PASCHAL: Objection, form.             17            To be honest, at that stage I had
      18   BY MR. FREEDMAN:                                    18   no, I didn't have the knowledge or understanding
      19        Q. Did Craig lead you to believe that          19   of what it all meant, because the motions were
      20   he was incredibly wealthy?                          20   already happening with the Supreme Court of New
      21             MR. PASCHAL: Objection, form.             21   South Wales.
      22             THE WITNESS: Yes. And that I was          22        Q. So, if you look at the next page,




                                                                                   18 (Pages 66 to 69)
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       1   "The following points were moved at the meeting:     1     single basis or do you want it just form.
       2            "One, Jamie Wilson will act as a            2            MR. FREEDMAN: I can ask you the
       3   director for purposes of consenting to orders and    3     basis when I want.
       4   the company to be wound down. The vote was Craig     4            MR. PASCHAL: You said keep it to
       5   Wright yes; no other parties. It was agreed that     5     form.
       6   filing the motion to accept the debt owned by        6            MR. FREEDMAN: Yes, keep it to form
       7   company W&K Info Defense LLC would be closed."       7     unless I ask you. How am I supposed to know
       8            Do you recall this happening?               8     what your objection is? Normally I
       9        A. This is my first knowledge that I            9     understand what your objection is. If I
      10   was acting as a director of the U.S. company.       10     don't understand what it is, I will ask you.
      11        Q. So, this is the first time -- so,           11            So what is the basis of your
      12   let me break that down a little bit.                12     objection?
      13            You do recall the meeting happening;       13            MR. PASCHAL: So, you have limited
      14   is that correct?                                    14     time in this deposition. Get through what
      15        A. It was part of our meeting that day         15     you need to. Because I have questions.
      16   and it was around Hotwire PE.                       16            MR. FREEDMAN: I have seven hours,
      17        Q. Okay.                                       17     I'm good.
      18        A. Not so much WK.                             18            MR. PASCHAL: No you have three and
      19        Q. So, you remember the meeting                19     a half.
      20   happening.                                          20            MR. FREEDMAN: Are you not going to
      21            Is it accurate to say that you             21     state the basis of your objection?
      22   remember the meeting happening, but you don't       22            MR. PASCHAL: I said form.
                                                  Page 71                                                 Page 73
       1   remember being made a director of W&K?               1            MR. BRENNER: Mr. Paschal, you know
       2        A. Absolutely.                                  2      better. Counsel is allowed to ask you --
       3        Q. Okay. So then you would agree with           3            MR. PASCHAL: I'm not doing this.
       4   the characterization in 24, Paragraph 24 that        4            MR. BRENNER: You are not going to
       5   there was a meeting. Present, Jamie Wilson and       5      answer the form, okay. Good, then it is
       6   Craig S. Wright were there?                          6      waived.
       7        A. Yes.                                         7            MR. PASCHAL: It is not waived.
       8        Q. But is it accurate to say you would          8            MR. BRENNER: Okay, go ahead.
       9   disagree with what happened in Paragraph 26?         9   BY MR. FREEDMAN:
      10        A. Yes. This is my first that I am             10        Q. Can you talk to me about the type of
      11   being made aware that I was a director of the LLC   11   intellectual property Craig was developing in
      12   company.                                            12   2013?
      13        Q. LLC is a Limited Liability Company.         13            MR. PASCHAL: Objection, form.
      14   The LLC meaning W&K Info Defense Research?          14   BY MR. FREEDMAN:
      15        A. Yes.                                        15        Q. Please go ahead.
      16        Q. Mr. Wilson, can you talk to me about        16        A. So, we set up Hotwire PE and it was
      17   the type of intellectual property that Craig was    17   all about setting up a banking platform, working
      18   developing in 2013?                                 18   with Rubik out of Sydney.
      19           MR. PASCHAL: Objection, form.               19            The challenges were that it went to
      20           MR. FREEDMAN: What is the basis?            20   a decimal six spaces instead of what we have
      21           MR. PASCHAL: Well, you can't do it          21   today being four. So unfortunately it couldn't
      22      both ways. I'm going to give you every           22   go ahead.




                                                                                   19 (Pages 70 to 73)
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       1            At the time of October, so we               1   been marked as Wilson 16.
       2   started that around about June/July of 2013. And     2            It was produced in this litigation
       3   by October I actually had finished and resigned.     3   as Defense 31588.
       4            All projects were related to Bitcoin        4            Do you recognize this as an e-mail
       5   also setting up exchanges.                           5   Craig sent to you and Ramona Watts?
       6        Q. Okay. So, was Craig involved in              6        A. Yes.
       7   Bitcoin related intellectual property development    7        Q. Can you take a moment to familiarize
       8   in 2013?                                             8   yourself with it.
       9        A. Yes.                                         9        A. Yes.
      10               (Wilson Exhibit Number 15               10        Q. Can you tell me what was happening
      11                marked for identification.)            11   in this e-mail? What is Craig telling you?
      12   BY MR. FREEDMAN:                                    12        A. It was a purchase, a license
      13        Q. Mr. Wilson, I'm handing you what has        13   agreement between the two companies.
      14   been marked as Wilson 15.                           14        Q. Which two companies?
      15            It was produced in this litigation         15        A. And -- there was an agreement
      16   as Defense 43726.                                   16   between, well it would have been the W&K Defense,
      17            Take a moment. Do you recognize            17   the U.S. company, and the sale for the license to
      18   this as an e-mail you sent to Craig and Ramona      18   the Australian company. And this here was a cost
      19   Watts?                                              19   that they were picking up to be able to claim for
      20        A. Yes.                                        20   the R&D.
      21        Q. Can you explain to me what this             21        Q. And do you see the last sentence in
      22   e-mail is?                                          22   the e-mail, "We just need to ensure that the
                                                  Page 75                                                  Page 77
      1         A. These were all of the projects that          1   court judgment is completed by August 30th."
      2    Craig wanted to work on. 5/5, Hotwire and the        2       A. And it was.
      3    increase in staff in a short period of time.         3       Q. Do you know why it needed to be
      4         Q. So, these were all intellectual              4   completed by August 30th?
      5    property projects?                                   5            MR. PASCHAL: Objection, form.
      6         A. Yes.                                         6            THE WITNESS: To be age to launch
      7         Q. And they all related to Bitcoin?             7     the R&D and have the tax returns completed.
      8             MR. PASCHAL: Objection, form.               8   BY MR. FREEDMAN:
      9    BY MR. FREEDMAN:                                     9       Q. If the court judgment wasn't
     10         Q. What did they relate to? What did           10   completed by August 30th, what would have
     11    all of the projects relate to -- strike that.       11   happened?
     12             Was there a common theme between all       12            MR. PASCHAL: Objection, form.
     13    of these projects?                                  13            THE WITNESS: It would have had to
     14         A. Yes.                                        14     fall through to the following financial year.
     15         Q. What was the common theme between           15   BY MR. FREEDMAN:
     16    all of the intellectual property projects that      16       Q. So, is it accurate to say Craig was
     17    Hotwire was working on?                             17   under a lot of time pressure to make sure the
     18         A. It was Bitcoin.                             18   judgment finished by August 30th?
     19                (Wilson Exhibit Number 16               19            MR. PASCHAL: Objection, form.
     20                 marked for identification.)            20            THE WITNESS: Yes.
     21    BY MR. FREEDMAN:                                    21   BY MR. FREEDMAN:
     22         Q. Mr. Wilson, I'm handing you what has        22       Q. Okay. When Craig told you that he




                                                                                   20 (Pages 74 to 77)
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       1   worked with Dave Kleiman, did you understand that    1        Q. Okay. Mr. Wilson, did Craig ever
       2   to mean that he worked -- in projects that were      2   tell you that his e-mails were hacked?
       3   based in Florida?                                    3        A. No.
       4        A. Yes.                                         4        Q. Did he ever tell you his company
       5        Q. Did you understand that he worked --         5   documents were hacked?
       6   strike that.                                         6        A. No.
       7            Why don't we take ten minutes. Can          7                (Wilson Exhibit Number 17
       8   we go off the record?                                8                 marked for identification.)
       9            THE VIDEOGRAPHER: Off the record at         9   BY MR. FREEDMAN:
      10      9:49.                                            10        Q. Mr. Wilson, I am handing you what
      11            (Recess taken -- 9:49 a.m.)                11   has been marked as Wilson 17. It was produced in
      12            (After recess -- 10:01 a m.)               12   this litigation as Defense 267325.
      13            THE VIDEOGRAPHER: We are back on           13             Do you recognize the top e-mail as
      14      the record at 10:01.                             14   an e-mail Craig sent with a cc: to you?
      15   BY MR. FREEDMAN:                                    15        A. Yes.
      16        Q. Mr. Wilson, earlier I asked you if          16        Q. In it Craig says, "I own both
      17   the you were a shareholder of W&K and you said      17   companies."
      18   no.                                                 18             Do you see that?
      19            But, I recall that W&K is an LLC, a        19        A. Yes.
      20   limited liability company. It doesn't have          20        Q. And did you take that as a reference
      21   shareholders, it has members.                       21   to PanOptiCrypt and Hotwire in the e-mail below
      22            So, I'm going to rephrase --               22   that?
                                                  Page 79                                                 Page 81
       1            MR. PASCHAL: Objection, form.               1       A.    Yes.
       2            MR. FREEDMAN: I'm going to rephrase         2            MR. FREEDMAN: Counsel, up until
       3     my question. Would you like to object?             3     this point every document Mr. Wilson has been
       4            MR. PASCHAL: Yes, objection, form.          4     handed he was a recipient of.
       5     There was no question.                             5            MR. PASCHAL: Actually, no. Your
       6   BY MR. FREEDMAN:                                     6     computer screen is still on that TV.
       7        Q. Mr. Wilson, did you have any                 7            MR. FREEDMAN: This document he is
       8   membership interest in W&K?                          8     not technically a recipient of it.
       9        A. No.                                          9            If you can get him to execute the
      10        Q. Mr. Wilson, earlier you told me that        10     confidentiality order, but I really don't
      11   the common theme of the intellectual property       11     think this is a confidential e-mail.
      12   that Dr. Wright was working on in Hotwire was       12            So, if you are willing to waive the
      13   Bitcoin. Do you recall that?                        13     confidentiality designation on it we can
      14        A. Yes.                                        14     avoid that process.
      15        Q. Dr. Wright had other companies that         15            MR. PASCHAL: We can discuss it
      16   you were also the director and shareholder of.      16     after the depo.
      17            Was there a common theme to those          17            MR. FREEDMAN: Okay. So, can you --
      18   company's intellectual property development as      18            MR. PASCHAL: Send me an e-mail with
      19   well?                                               19     the document.
      20        A. Yes.                                        20            MR. FREEDMAN: I've got to hand it
      21        Q. What was that common theme?                 21     to the witness now.
      22        A. All related to Bitcoin.                     22            MR. PASCHAL: That is fine. If we




                                                                                   21 (Pages 78 to 81)
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       1      keep it, we will mark this part confidential.     1      the record at 10:14.
       2            MR. FREEDMAN: If you hand it to             2               EXAMINATION
       3      him. I'll give you the unmarked copy.             3   BY MR. PASCHAL:
       4            MR. PASCHAL: Okay.                          4        Q. Good morning, Mr. Wilson. I am
       5               (Wilson Exhibit Number 18                5   Bryan Paschal. I represent Dr. Craig Wright in
       6                marked for identification.)             6   the matter that you have just testified with
       7   BY MR. FREEDMAN:                                     7   Mr. Freedman.
       8        Q. I have just handed you what has been         8        A. Good morning.
       9   marked as Wilson 18, it has been produced as         9        Q. Do you recall when you came in this
      10   Defense 262775.                                     10   room today?
      11            I'm not sure if you have ever seen         11        A. Yes.
      12   this before Mr. Wilson, but if you could take a     12        Q. Did you speak with that lawyer?
      13   minute to familiarize yourself with it.             13        A. No. Well, when I came into this
      14            Are you familiar with what this is,        14   room and you were here and present as well, at
      15   Mr. Wilson?                                         15   the same time.
      16        A. It is a MYOB program. M-Y-O-B. It           16        Q. And that is Vel Freedman, right?
      17   is an accounting package. I am positive it was      17        A. That's correct.
      18   only Xero we were using as an accounting package.   18        Q. And what did you say to
      19        Q. So you don't ever recall using MYOB?        19   Mr. Freedman?
      20        A. No, not for Craig's work, no. Not           20        A. Good morning. Good morning to all.
      21   at all.                                             21        Q. Did you say anything else to
      22        Q. Okay. It references a company               22   Mr. Freedman?
                                                  Page 83                                                Page 85
       1   Information Defense. Do you see that?                1        A. No. That was it. You were present
       2        A. Yes.                                         2   when I walked in.
       3        Q. Do you recall, do you recall what            3        Q. Did you say, "Mr. Freedman, it is
       4   that company was?                                    4   finally good to meet you in person"?
       5        A. It was part of the group of                  5        A. Yes.
       6   companies that Craig had set up for R&D.             6        Q. How many times have you spoken to
       7        Q. And did you, were you involved with          7   Mr. Freedman?
       8   that company at all?                                 8        A. Three, four times.
       9            MR. PASCHAL: Objection, form.               9        Q. When was the first time you spoke to
      10   BY MR. FREEDMAN:                                    10   Mr. Freedman?
      11        Q. Were you involved with that company?        11        A. Oh, maybe July.
      12        A. I can't remember it.                        12        Q. July of this year?
      13        Q. Okay.                                       13        A. Or August of this year, maybe.
      14            MR. FREEDMAN: We have no further           14        Q. How -- this year, right?
      15      questions.                                       15        A. That's correct. It might have been
      16            MR. PASCHAL: Let's take a break and        16   August.
      17      we will have some questions.                     17        Q. Okay. And how did you speak with
      18            THE VIDEOGRAPHER: Off the record           18   Mr. Freedman?
      19      at 10:07.                                        19        A. By phone. By phone call.
      20            (Recess taken -- 10:07 a.m.)               20        Q. You have never e-mailed
      21            (After recess -- 10:14 a.m.)               21   Mr. Freedman?
      22            THE VIDEOGRAPHER: We are back on           22        A. Originally I did an e-mail. And he




                                                                                  22 (Pages 82 to 85)
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       1   said Jamie, we have been looking for you, can you    1   you give me a call. I want to book my flights.
       2   give me a call.                                      2   I want to make sure that I don't stand him up and
       3        Q. You said you sent an e-mail?                 3   to make sure that I'm here present.
       4        A. I physically sent an e-mail.                 4        Q. Okay. Let me get into that. So you
       5        Q. To say?                                      5   booked your flight to come here for what purpose?
       6        A. To say congratulations or something          6        A. No. So, I do have an office in New
       7   like that on the case of Craig Wright.               7   York, a physical office on Madison Avenue.
       8        Q. So, in July or August of this year,          8        Q. Yes.
       9   you sent an e-mail to Mr. Freedman congratulating    9        A. I travel back and forward out of the
      10   him on this case?                                   10   U.S. on a regular basis.
      11        A. That's correct.                             11            This, while I am here in Washington,
      12        Q. And when did Mr. Freedman respond to        12   was for the CINet Conference, which is a whole
      13   you?                                                13   lot of leading CISOs nationally in the U.S. that
      14        A. Within a 24-hour period.                    14   we all to get together.
      15        Q. Okay. Let me go back to your first          15        Q. So, if I were to say that you don't
      16   e-mail.                                             16   travel to the US that frequently, would that be a
      17            Was there anything else other than         17   false statement?
      18   you congratulating him for this case, was there     18        A. That's correct. And you can tell by
      19   anything else that you said to Mr. Freedman in      19   my passport and the amount of time that I enter
      20   that e-mail?                                        20   America.
      21        A. No. I mean I could give you a copy          21        Q. When did Mr. Freedman arrange for
      22   of the e-mail.                                      22   you to meet or have this deposition?
                                                  Page 87                                                  Page 89
      1         Q. Yes, I would like a copy of the              1        A. When he found out that I was coming
      2    e-mail.                                              2   to the States.
      3         A. Sure.                                        3        Q. When did he find out that you were
      4         Q. And what did Mr. Freedman respond to         4   coming to the States?
      5    you and say?                                         5        A. About two weeks ago. Or a week ago.
      6         A. Can we talk? It was a phone call             6        Q. Okay. And how did you, how did you
      7    after that.                                          7   communicate that?
      8         Q. Was that all that Mr. Freedman said          8        A. E-mail.
      9    to you in that e-mail?                               9        Q. By e-mail?
     10         A. Yes there wasn't much in it at all.         10        A. Yep.
     11         Q. So, I just want to be clear. You            11        Q. Okay. So there is a third e-mail
     12    congratulate him and he says I want to talk to      12   then?
     13    you. That is it?                                    13        A. Yes, there would be a couple of
     14         A. Yes, it was very simple with a              14   e-mails back and forth.
     15    reply.                                              15        Q. There is a chain of e-mails.
     16         Q. Okay. Are those the only e-mails            16        A. That's right.
     17    that you had with Mr. Freedman?                     17        Q. Okay. Did Mr. Freedman ask you to
     18         A. Yes, I'm more than happy to supply          18   come or did you tell him that you were coming?
     19    the e-mails to you.                                 19        A. No, no. I was coming. I mean I
     20         Q. Do you have any text messages with          20   have had my conference here for the last couple
     21    Mr. Freedman?                                       21   of days. Physically here.
     22         A. No, only that can you write or can          22        Q. And when -- I'm sorry, when did you




                                                                                   23 (Pages 86 to 89)
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       1   tell him that you were coming?                       1        Q. Is that a cell phone or a land line?
       2        A. About two weeks ago.                         2        A. No, my mobile number. And I will
       3        Q. About two weeks ago. Okay. Did               3   give you my card as well.
       4   Mr. Freedman, when you reached out to him in July    4           MR. PASCHAL: I guess we have to
       5   or August of this year, did he ever ask you to       5      mark this, can you mark this?
       6   come here for any other reason?                      6              (Wilson Exhibit Number 19
       7        A. No, not at all.                              7               marked for identification.)
       8        Q. Okay. Did you ever get any filings           8   BY MR. PASCHAL:
       9   in this case? Did Mr. Freedman ever send you any     9        Q. And just, my colleague reminded me,
      10   filings in this case?                               10   what is your addresses for the offices in U.S.?
      11        A. No, not at all.                             11        A. So the one in New York is 261
      12        Q. Did he ever send you any documents          12   Madison Avenue, Level 9.
      13   in this case?                                       13        Q. Okay. And then you said, do you
      14        A. Absolutely zero.                            14   have another one? I can't remember?
      15        Q. Did he ever ask you for any                 15        A. No, just the one.
      16   documents?                                          16        Q. Okay. So I just, I don't want to
      17        A. Yes.                                        17   mischaracterize anything you have said.
      18        Q. You sent him documents.                     18           So, you reached out to Mr. Freedman
      19        A. Yes.                                        19   to congratulate him, correct?
      20        Q. How many documents did you send him?        20        A. Yes.
      21        A. Oh, my resignation letters.                 21        Q. And then you also reached out to him
      22            Oh, there was an e-mail or a social        22   two weeks ago to let him know you were coming
                                                  Page 91                                                  Page 93
       1   media from Craig Wright making out that I was a      1   here, right?
       2   liar and deceitful and things like that, which       2        A. Yes.
       3   was posted.                                          3        Q. He did not reach out to you,
       4             And I thought well, you know what,         4   correct?
       5   if that is the case, then I will give the            5        A. No. He did.
       6   evidence that I actually did physically resign.      6        Q. He being Mr. Freedman?
       7   And these were the sequence of events.               7        A. Mr. Freedman asked me when was the
       8             I am more than happy to share what I       8   next time I'm coming to the U.S.
       9   did share.                                           9        Q. I'm sorry, did you ever receive a
      10        Q. Okay. And, are you represented by           10   subpoena to show up at this deposition today?
      11   counsel?                                            11        A. No.
      12        A. No.                                         12        Q. Did you ever ask for a subpoena to
      13        Q. Okay. And if I needed to get in             13   be at this deposition today?
      14   contact with you, how would I get in contact with   14        A. No.
      15   you?                                                15        Q. Are you here voluntarily?
      16        A. I'm more than happy to give you my          16        A. Yes.
      17   details.                                            17        Q. Okay. Now you also testified a
      18        Q. What is your e-mail address?                18   moment ago with Mr. Freedman that -- you said
      19        A. Jamie.wilson@cryptoloc,                     19   things changed with Dr. Wright some time between,
      20   C-R-Y-P-T-O-L-O-C.com.                              20   or after Dave's death, right?
      21        Q. And what is your phone number?              21        A. Correct.
      22        A. Plus 61-416-176-816.                        22        Q. Okay. And Dave died in April




                                                                                   24 (Pages 90 to 93)
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       1   of 2013, correct?                                   1        A. Yes.
       2        A. Yes.                                        2        Q. Did you know that Dave Kleiman lived
       3        Q. And you also testified that after           3   in the VA Hospital for the last two years of his
       4   Dave's death Craig showed some wealth, right?       4   life?
       5        A. Yes.                                        5        A. No.
       6        Q. In fact you were able to tell me the        6        Q. Did you know that Mr. Dave Kleiman
       7   exact amount that Craig spent for champagne with    7   could not afford to pay his cell phone bill
       8   his wife, correct?                                  8   during that time, so his phone was disconnected?
       9        A. Yes, for a Christmas party.                 9        A. No.
      10        Q. For a Christmas party. And that            10        Q. Did you ever that his friends had to
      11   Christmas party was in 2013?                       11   lend him money to pay his cell phone bill so that
      12        A. Yes.                                       12   he could use his cell phone?
      13        Q. I'm going to break that down.              13        A. No.
      14           So --                                      14        Q. Did you know that Mr. Kleiman could
      15        A. I don't even know if it was a              15   not afford his internet or cable and XFINITY
      16   Christmas party. But it was a get together,        16   actually had to disconnect his account?
      17   anyway, a celebration.                             17        A. No.
      18        Q. Was it around Christmastime?               18        Q. Did you know that the day that
      19        A. I would have to go back and have a         19   Mr. Kleiman passed, or about the day that he
      20   look. But it --                                    20   passed or the day before he passed, his credit
      21        Q. So you remember the amount he spent        21   report showed that he had applied for a Payday
      22   for champagne, but you don't know --               22   loan and was denied?
                                                 Page 95                                                  Page 97
      1         A. No, it wasn't champagne; it was             1        A. No.
      2    dinner. It was a 15,000; it was top end, not        2        Q. Did you ever know Dave Kleiman to
      3    champagne, had a big top range wine as well.        3   have a considerable amount of wealth?
      4         Q. Were you responsible for the check          4        A. No.
      5    for dinner?                                         5        Q. Did you ever see Dave Kleiman
      6             MR. FREEDMAN: Let the witness              6   develop any intellectual property?
      7       finish his answer, Mr. Paschal, before you       7        A. I never met Dave Kleiman.
      8       continue.                                        8        Q. But just answer my question: You
      9             THE WITNESS: No.                           9   never knew of him developing any intellectual
     10    BY MR. PASCHAL:                                    10   property?
     11         Q. But you remember the exact amount          11        A. Only with Craig being Blockchain or
     12    for the bill?                                      12   Bitcoin.
     13         A. Yes.                                       13        Q. I'm going to get into that in a
     14         Q. Now I'm just going to address this         14   second. So that is the only way that you know
     15    in parts, so ...                                   15   that?
     16         A. Sure.                                      16        A. Absolutely yes.
     17         Q. You knew of Dave, right?                   17        Q. And did Craig tell you that?
     18         A. Yes. Of him.                               18        A. Yes.
     19         Q. Dave Kleiman, I should clarify?            19        Q. And on how many occasions did Craig
     20         A. Yes.                                       20   tell you that?
     21         Q. And you have heard people talk about       21        A. Well that is how he started
     22    Dave Kleiman, right?                               22   Blockchain or Bitcoin. And it was a matter of I




                                                                                  25 (Pages 94 to 97)
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      1    did it with Dave Kleiman.                            1   They are the smaller elements of the bigger
      2             So, that is how I knew of Dave              2   picture.
      3    Kleiman was purely because of the relationship       3       Q. But this started in Dave's, after
      4    between the two.                                     4   Dave died?
      5         Q. Just to clarify, you said I did it           5       A. Yes.
      6    with Dave Kleiman? You did it with --                6       Q. So, he didn't exhibit this before
      7         A. No. No. Craig.                               7   Dave died?
      8         Q. So Craig told you that.                      8       A. No.
      9         A. Yes.                                         9       Q. Okay. And Dave died in April of
     10         Q. And that is how you formed your             10   2013?
     11    belief that Dave created intellectual property?     11       A. Yes.
     12         A. Together with Craig.                        12       Q. I'm going to show you --
     13         Q. Together with Craig?                        13            MR. KASS: It will be Exhibit 20.
     14         A. That's right. But I had no                  14             (Wilson Exhibit Number 20
     15    understanding that --                               15              marked for identification.)
     16         Q. So, based on that statement -- --           16   BY MR. PASCHAL:
     17    I'm sorry, go ahead.                                17       Q. So, I'm showing you an employee
     18         A. That he was in financial ruin.              18   remuneration.
     19         Q. Who was in financial ruin?                  19       A. Yes.
     20         A. David Kleiman.                              20       Q. But you are familiar with this
     21         Q. Okay. Now, you said that there was          21   document, correct?
     22    a change in Craig. He started wearing suits,        22       A. Yes, I am.
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       1   right?                                               1        Q. Have you done this -- how are you
       2        A. Yes.                                         2   familiar with this document?
       3        Q. You just have to answer for the              3        A. The reason for it is that I never
       4   record.                                              4   got paid, never received a cent. And as I have
       5        A. Yes.                                         5   stated to the Australia Taxation Office, I never
       6        Q. You mentioned fancy watches.                 6   received any money whatsoever from Craig Wright
       7        A. Yes.                                         7   and why should I have to pay tax.
       8        Q. You said that he was showing that he         8        Q. Okay.
       9   had money.                                           9        A. So, I got a tax bill for money I
      10        A. Yes.                                        10   never received.
      11        Q. That he had bought a new car?               11        Q. So, going to my question, that is
      12        A. Yes.                                        12   how you remember a document like this?
      13        Q. And to you that made you                    13        A. Yes.
      14   uncomfortable?                                      14        Q. Okay. So, I want to just go through
      15        A. No. What made me uncomfortable was          15   this with you.
      16   the change in habits and also the way that he was   16            Your name is on here under Employee,
      17   going about his business.                           17   right?
      18           So, that was only a small effect            18        A. Yes.
      19   versus how he would actually run the business and   19        Q. And it does say Start Date:
      20   on-board staff and new projects.                    20   August 1, 2013, correct?
      21        Q. Okay.                                       21        A. Yes.
      22        A. So there is a bigger picture here.          22        Q. Then it says October 11, 2013,




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      1    Termination, right?                                  1   because I never received the payment.
      2         A. Correct.                                     2         Q. Okay. But you were scheduled to be
      3         Q. That is when you resigned?                   3   one of the highest employees, paid employees of
      4         A. Yes.                                         4   this company, correct?
      5         Q. You could take a second. But can             5         A. Yes.
      6    you look at Annual Salary?                           6         Q. So, it is January, you are saying
      7         A. Yes.                                         7   that you were employed January 8th of 2013.
      8         Q. And you could look at them all.              8         A. Yes.
      9              Are you the second highest paid            9         Q. And how many people started the
     10    person for this company?                            10   company, well I guess with you?
     11              MR. FREEDMAN: Objection, form.            11         A. Well Ramona Watts. His wife.
     12              THE WITNESS: Yes.                         12   Myself and Craig.
     13    BY MR. PASCHAL:                                     13         Q. Okay.
     14         Q. And how many employees are there on         14         A. And then I would live in Brisbane;
     15    that list? More than 12?                            15   Craig lives in Sydney. All of the business was
     16         A. Yes.                                        16   done out of Sydney. I was flying back and
     17         Q. More than 14?                               17   forward. Craig was then on-boarding other people
     18         A. Yes.                                        18   around him to start up Hotwire PE.
     19         Q. So it is a significant amount of            19         Q. Okay. So, for nine months -- strike
     20    employees for this company? Correct.                20   that.
     21         A. Yes.                                        21            So in April Dave dies?
     22         Q. And you are the second highest paid         22         A. Yes.
                                                 Page 103                                                Page 105
       1   person?                                              1        Q. You stay on with Hotwire in May,
       2        A. Yes.                                         2   right?
       3            MR. FREEDMAN: Objection to form.            3        A. Yes.
       4   BY MR. PASCHAL:                                      4        Q. You stay on in June, right? You
       5        Q. And you started in August of 2013,           5   stay on in July. You stay on all of the way
       6   right?                                               6   until October or November?
       7        A. No, no. I didn't. If you have a              7        A. 23rd of October my resignation.
       8   look it was January, 8 of January, 2013.             8        Q. Okay. And at no time -- well are
       9            So that Christmas party that we             9   there any documents where you express concern to
      10   asked before --                                     10   Craig that his demeanor has suddenly changed?
      11        Q. Hold on, go ahead.                          11        A. No.
      12        A. That would have been in December.           12        Q. Are there any documents that any of
      13   So that does work out.                              13   their employees where you say Craig suddenly
      14        Q. So, the date on this, this goes, the        14   changed, something is wrong?
      15   date then the month then the year?                  15        A. But you -- the difference is I
      16        A. Yes.                                        16   actually knew Craig prior to him on-boarding
      17        Q. So, why is your resignation say here        17   staff.
      18   then November 10, 2013, if you resigned in          18            I worked with Craig for quite some
      19   October?                                            19   period of time with the technology of YDF.
      20        A. That would have been Craig or who,          20            So, the advisory board that I had
      21   or his bookkeeper who looked after the accounts.    21   around me, and to one of them being our lawyer,
      22   I would not have processed my own termination pay   22   Diane Pinder, would be one that would be able to




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       1   say, who is an attorney herself, that his            1   he has got the money to be on board and he has
       2   demeanor did change over that period of time as      2   got the confidence to be able to bring these
       3   well as Dr. Allen, I can't remember his surname.     3   people on.
       4        Q. I just want to go back to my                 4             This was very new for me. I had
       5   question.                                            5   never had a background in technology. So, this
       6           Are there any e-mails or                     6   is the first start. It was, I was leading Craig
       7   communications where you expressed to anyone         7   and following to understand how do you turn
       8   during this 9 month or 10 month or 11 month          8   around and make something. For what he was
       9   period that Craig's demeanor suddenly changed        9   doing, wanting to achieve.
      10   when Dave died?                                     10             I mean some of the plans with the
      11        A. No.                                         11   company were out of my depth with what he was
      12        Q. Did you ever express any concern            12   wanting to achieve.
      13   when you served as CFO of Hotwire?                  13             So, it was interesting for me. I
      14        A. No.                                         14   mean, he's a great futurist, so I could
      15        Q. As a CFO, and I guess there is a            15   understand where he was going and what he wanted
      16   difference between CFO -- well does CFO involve     16   to do.
      17   tax duties?                                         17             But doing it the right way, and
      18        A. It does. It can be, but we had a            18   trying to put the right people around is where
      19   external party, BDO, who would look after the       19   the challenge was for Craig.
      20   taxation part of it.                                20        Q. Okay. You mentioned that you were
      21        Q. What is BDO?                                21   CFO but there was a bookkeeper?
      22        A. It is one of the larger, well middle        22        A. Yes.
                                                 Page 107                                                Page 109
       1   tier accounting firms in Australia, equivalent to    1        Q. Who was the bookkeeper?
       2   like an Ernst & Young here.                          2        A. I can't remember her name.
       3        Q. So it is a prestigious company?              3        Q. Okay. You can't remember her name.
       4        A. Yes.                                         4   But what were her duties?
       5        Q. And as CFO -- and your being an              5        A. She looked after the accounts on a
       6   accounting CFO role for the company of Hotwire,      6   daily basis and reported directly to Craig.
       7   right?                                               7        Q. You testified earlier that that was
       8        A. That's right.                                8   unusual for you?
       9        Q. Not Craig Wright?                            9        A. To not do --
      10        A. No.                                         10        Q. To not do that as the CFO?
      11        Q. So, you owed some duties to the             11        A. Normally I would have full access to
      12   company, correct?                                   12   the accounts and have a Xero access. Xero being
      13        A. Absolutely.                                 13   the accounting package, that is.
      14        Q. And in this entire period there is          14        Q. Okay.
      15   not a single e-mail or communication where you      15        A. In this case, no. But then we are
      16   said I am concerned because Craig Wright's          16   at the early days before we were on-boarding a
      17   demeanor has suddenly changed.                      17   whole lot of staff.
      18        A. No, because he had the money to turn        18            So I knew that over a period of
      19   around and back it, as per his Bitcoin wallets.     19   time, that the duties would increase. But, I
      20            So I knew, it was all a very new           20   didn't need to work in a full-time capacity. It
      21   thing for me and to understand Bitcoin as well.     21   was the early stages. It was a startup.
      22            And so I thought well, I can see why       22        Q. So, for the nine months that you




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       1   were CFO, 9, 10, 11 months you were CFO, did you     1       A. Scott.
       2   ever express any concerns that there was a           2       Q. And can you spell that, too?
       3   bookkeeper?                                          3       A. S-C-O-T-T.
       4        A. No, I wouldn't express concerns of a         4       Q. Is she here in your office in New
       5   bookkeeper. That makes total sense for the           5   York or Australia?
       6   everyday expenditure to be taken up by someone to    6       A. Australia.
       7   look after it.                                       7       Q. Okay. And if I wanted to get in
       8        Q. So, that is completely okay then for         8   contact with her, how would I do that?
       9   you?                                                 9       A. I could pass you her contact
      10        A. I have no problems with that. It            10   details.
      11   makes total sense.                                  11       Q. What is her e-mail address?
      12        Q. Okay. And what were your duties as          12       A. If you let me know by e-mail, send
      13   CFO?                                                13   me an e-mail, and then I would be able to put the
      14        A. Ours was working through the cash           14   two of you connected together.
      15   flow. For me, it was, and why Craig brought me      15       Q. Okay. Now, if you turn to Page 3,
      16   on, was the way that I had the discipline to be     16   can you look at the bottom where it says
      17   able to build YDF, and the culture around it.       17   Education?
      18            What Craig wanted was exactly              18       A. Education.
      19   similar to what we had. But the difference is on    19       Q. Well let me ask you first --
      20   a greater scale, and he had a huge amount of        20       A. Here, Queensland University of
      21   money behind him to be able to back it, to be       21   Technology.
      22   able to do it.                                      22       Q. So, let me ask you. You have a
                                                 Page 111                                                 Page 113
       1       Q. Okay. I'm showing you -- what am I          1     marketing person looking at your LinkedIn, you
       2   on?                                                2     take this seriously, right?
       3           MR. KASS: You are on 21.                   3          A. Yes, the LinkedIn.
       4              (Wilson Exhibit Number 21               4          Q. And you hold this out because people
       5               marked for identification.)            5     might use your company and want to look over
       6   BY MR. PASCHAL:                                    6     information about you. Correct?
       7        Q. I am showing you what we are going         7          A. That's correct.
       8   to mark as 21?                                     8          Q. So you would want to make sure this
       9           What am I showing you?                     9     is accurate. Right?
      10        A. My LinkedIn profile.                      10          A. Yes.
      11        Q. Okay. When was the last time you          11          Q. You wouldn't put anything false in
      12   updated this profile?                             12     here, right?
      13        A. Recently.                                 13          A. No.
      14        Q. Did you draft this profile?               14          Q. And you wouldn't leave out any
      15        A. No, my marketing, but I approved it.      15     important information, would you?
      16   My marketing staff would have drafted it and then 16          A. No.
      17   I signed off on it.                               17          Q. Okay. Education, where it says
      18        Q. Who is your marketing staff?              18     Queensland University of Technology.
      19        A. Nadine.                                   19          A. Yes, QUT.
      20        Q. Could you spell her name, please?         20          Q. Accounting and finance was your
      21        A. N-A-D-I-N-E.                              21     degree?
      22        Q. What is her last name?                    22          A. Correct.




                                                                               29 (Pages 110 to 113)
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      1       Q. Did you take any classes in                  1         A. Melissa Crossman.
      2   cybersecurity?                                      2         Q. And do you know their e-mail
      3       A. No.                                          3   addresses?
      4       Q. Did you take any classes related to          4         A. Yes, I do.
      5   the Blockchain?                                     5         Q. What is their e-mail address?
      6       A. No.                                          6         A. Melissa.crossman@cryptoloc.com and
      7       Q. Did you take any classes related to          7   mark.mcpherson@cryptoloc.com.
      8   Bitcoin?                                            8         Q. Okay. Can you go to the first page.
      9       A. No.                                          9   So you say, "I took a fierce interest in cyber
     10       Q. Did you take any classes related to         10   security solutions after two devastating events
     11   cryptocurrency?                                    11   in my life." Right?
     12       A. No.                                         12         A. Correct.
     13       Q. Did you take any classes related to         13         Q. Would that be when you first had a
     14   cryptography?                                      14   passion for cyber security?
     15       A. No. And I never make out that I             15         A. After the loss of my father, yes.
     16   have an IT background.                             16         Q. And your father passed in 2011?
     17       Q. Okay. And then you go in from, I            17         A. Ten, so in October 2010, my father
     18   guess right after education you go into            18   passed away. And it was through this process
     19   laboratory assisted patient accounts, correct?     19   when I was trying to find a solution in the event
     20       A. Correct.                                    20   that one dies, that you can find the will, the
     21       Q. You didn't have any background              21   life insurance superannuation.
     22   with --                                            22         Q. I'm sorry, I need to ask you
                                               Page 115                                                 Page 117
      1        A. I have had no background whatsoever.        1   questions. So that was an important -- strike
      2   It was only after my dad passing that I started     2   that.
      3   to take an increase and understanding in cyber      3            When your father passed, it was
      4   security.                                           4   important that you were able to find documents
      5            But even today, I do not read code.        5   about him?
      6   I have experts there in my office, and I do have    6         A. Well it was. We were fortunate to
      7   a CISO, with a great background in cyber            7   have dad for a 12-month period when he was
      8   security.                                           8   terminal with cancer.
      9            (Reporter requests clarification.)         9            And through that stage it was a
     10            THE WITNESS: Ah. CISO, chief              10   challenge to find all of those important
     11      information security officer.                   11   documents. And it was through that, that I had
     12        Q. What is the name of your chief             12   seen, I even said to dad it was lucky that he was
     13   information security officer?                      13   alive, otherwise we never would have been able to
     14        A. Mark McPherson.                            14   find the information.
     15        Q. Is that the only person that you           15         Q. Okay. And I just want to ask you
     16   have in that capacity?                             16   then, so, when he, and I know it is difficult to
     17        A. Yes.                                       17   talk about some of this stuff, but I just want to
     18        Q. Do you have any computer scientists        18   know.
     19   working for you?                                   19         A. Uh-huh.
     20        A. Yes, I have a data scientist as            20         Q. You were able to get documents from
     21   well.                                              21   him before he died because you had a window,
     22        Q. What is that person's name?                22   right?




                                                                             30 (Pages 114 to 117)
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       1        A. Yes, he was alive and we could use           1           It depends on the capability of the
       2   him to find the information.                         2   individual as well and the circumstances that
       3        Q. But you, were you able to find               3   they grew up in.
       4   documents?                                           4       Q. So, if they erased hard drives and
       5        A. Yes, because he was alive.                   5   threw out papers, that would be --
       6        Q. Would it strike you as odd if                6       A. That would be strange.
       7   somebody were to destroy documents after a family    7       Q. Okay. Just to clarify, I'm going to
       8   member passed away?                                  8   show you a place on your -- actually, you said
       9        A. Well, I suppose if they don't know           9   you became engaged in cyber security after your
      10   the importance of it or a filing cabinet.           10   father passed in 2011, right?
      11            I mean, hence why I created YDF was        11       A. Yes.
      12   purely in event that I drop dead that my family     12       Q. Okay.
      13   and my two children would know where the            13       A. '10.
      14   information was.                                    14       Q. On your LinkedIn, I don't know if it
      15            Being an accountant at that stage, I       15   was just -- but it says 2010 is when you got
      16   had a filing cabinet with a whole lot of            16   involved with cyber security.
      17   strategies of clientele.                            17       A. Correct. So dad passed away in
      18        Q. Yes.                                        18   October of 2010.
      19        A. And I thought what a mess it would          19       Q. Okay.
      20   be that they would never receive their paperwork.   20       A. And I even spoke to dad prior to him
      21            So I wanted to make sure that in the       21   passing about it.
      22   event that I passed away, that everyone receives    22       Q. Okay. I got it. I'm sorry, if you
                                                 Page 119                                               Page 121
      1    the information, and that it would stand up in       1   wanted to keep --
      2    court.                                               2        A. No, go ahead. I understand.
      3              So hence why I created the                 3        Q. Can you take a look at what was
      4    technology and went on this road and journey to      4   Plaintiffs 15?
      5    build it.                                            5        A. Yes, with the projects.
      6         Q. That is a noble process. I mean,             6        Q. Mr. Freedman asked you if there was
      7    that is important for people that you are doing      7   a common theme between all of these things in
      8    that for, right?                                     8   this e-mail, right?
      9         A. It is.                                       9        A. Yes.
     10         Q. Because it is important that if             10        Q. The live feed here says you took
     11    somebody passes they could get access to            11   about 20 seconds to read this e-mail, right?
     12    important documents. Right?                         12        A. Yes.
     13         A. Yes.                                        13        Q. Was that, and this is a two-page
     14         Q. So, would it be odd to you if               14   single space e-mail, right? Or one page? It is
     15    somebody were to throw away in the trash every      15   two pages, right?
     16    piece of paper that their family member had?        16        A. Yes.
     17    Without looking at them?                            17        Q. -- let me go through here.
     18         A. Probably not. It depends on who the         18            Do you see the -- let's go to the
     19    individual is.                                      19   fourth category.
     20         Q. Let's say it was your, I mean --            20            MR. FREEDMAN: Excuse me, counsel.
     21         A. For me it is different. Like I              21      Could you tell me the Bates label on the
     22    would actually go through it.                       22      bottom of the page?




                                                                               31 (Pages 118 to 121)
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       1            MR. PASCHAL: Yes. It is 0043726.            1   GoToMeeting or Adobe?
       2            MR. FREEDMAN: Thank you.                    2        A. It would be new technology. But,
       3            MR. PASCHAL: Let me know when you           3   you would be able to put it on the Blockchain.
       4      have it.                                          4        Q. Was that technology ever developed?
       5            MR. FREEDMAN: Go ahead.                     5        A. I left in October 2013. This is
       6   BY MR. PASCHAL:                                      6   August 2013. These were projects where he was
       7        Q. So, if you go down to the fourth             7   scaling his staff to be able to deliver.
       8   where it says Video System.                          8        Q. Okay. So -- hold on. So, the
       9        A. Yes.                                         9   Reputation Systems, think LinkedIn, do you see
      10        Q. Replacement for Adobe and                   10   that?
      11   GoToMeeting.                                        11        A. Yes.
      12        A. Yes.                                        12        Q. But with the tracking against
      13        Q. What does that have to do with              13   training?
      14   Bitcoin?                                            14        A. Yes.
      15        A. What he was trying to set up, Craig         15        Q. That is related to Bitcoin?
      16   Wright, is the ability for, where you could go      16        A. Blockchain.
      17   into an environment, be able to negotiate and       17        Q. Let's say Bitcoin first.
      18   then you would be able to use Blockchain, pay in    18        A. All of these projects here are
      19   Bitcoin for the end of an agreement. So, of a       19   Blockchain-related, which then could turn around
      20   party.                                              20   and have Bitcoin as well.
      21            Mainly if there was a legal problem.       21           So when you are looking at the
      22   And that as long as everyone was happy with the     22   LinkedIn, turning around and putting to
                                                 Page 123                                                Page 125
      1    outcome of it, then the money would be               1   qualifications, et cetera, you run it off the
      2    transferred.                                         2   Blockchain.
      3             If not it would stay as an escrow           3            However you are able to send
      4    and then other legal professions would be able to    4   information and be able to be paid in
      5    come in and voice their opinion and the money        5   remuneration with the Bitcoin.
      6    would be dispersed at a certain percentage.          6         Q. So, I want to clarify this
      7         Q. Okay. But going back to my                   7   Mr. Wilson, because earlier you said the common
      8    question, though.                                    8   point is Bitcoin?
      9             How is that related to Adobe or             9         A. Secondary is Bitcoin.
     10    GoToMeeting?                                        10         Q. So, the common theme is Blockchain?
     11         A. It was an improvement of what Adobe         11         A. Blockchain is all of this. All of
     12    and GoToMeeting is.                                 12   it is Blockchain as we understand. Blockchain is
     13             It is the ability to be able to use        13   the underlying technology of Bitcoin.
     14    Blockchain to be able to escrow or escrow the       14            So, all of this does come back into
     15    money with the Bitcoin and to be able to have a     15   receiving money and funds.
     16    background so you could actually track it all       16         Q. Okay. But there is a lot of
     17    back from those meetings.                           17   different technologies that stemmed from
     18         Q. So, the process of Adobe and                18   Blockchain, correct?
     19    GoToMeeting could be similar or, or Bitcoin, let    19         A. Absolutely.
     20    me say.                                             20         Q. Is the technology used at YDF, is
     21         A. Yes.                                        21   that Blockchain?
     22         Q. Could be similar or the same as             22         A. Absolutely not.




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       1        Q. Do you think it is better than               1            It is the same year after I resigned
       2   Blockchain?                                          2   Diane finished up at Lloyd solicitors in a
       3        A. Yes, I do.                                   3   capacity as one of the principal lawyers.
       4        Q. Is that based on your cyber security         4            And then I haven't remained
       5   experts, data scientists, and developers?            5   connected to Diane.
       6        A. Yes.                                         6        Q. Can you go back to your LinkedIn
       7        Q. And that --                                  7   page?
       8        A. When we, the reason for it is in             8        A. Yes.
       9   regards to privacy.                                  9        Q. Earlier you testified you would make
      10            Blockchain doesn't give you the            10   sure that this information was accurate.
      11   privacy, and that is, it is a public ledger, and    11   Correct?
      12   that you can track all of the transactions,         12        A. Yes.
      13   understand what an individual is doing, be able     13        Q. And you would make sure that
      14   to do a 51 percent of tech.                         14   everything is in here that is necessary.
      15            There is plenty of information now         15   Correct?
      16   from the MIT which has come out and said we         16        A. Yes.
      17   realize that there is problems with scaling and     17        Q. And you wouldn't leave out anything
      18   also the privacy around Blockchain.                 18   that was important?
      19        Q. Okay.                                       19        A. I could leave out something.
      20        A. I have done a closed ledger, you            20        Q. Earlier you testified that you would
      21   know, with cryptography with an escrow being our    21   not leave out anything important. I am
      22   point of difference which we have patents on a      22   clarifying your testimony.
                                                 Page 127                                                Page 129
       1   global stage as well.                                1         A. Well, only sensitive information
       2            We actually could run a digital             2   such as the clientele that I was looking after.
       3   currency off our Cryptoloc technology if we          3   It is not relevant to a LinkedIn profile.
       4   wished and it would be a lot quicker and give the    4         Q. So it wasn't relevant that you were
       5   privacy. But we would work with law enforcement      5   involved with Hotwire?
       6   as well.                                             6         A. No, and I didn't turn around and add
       7       Q. Would that put you in competition             7   Hotwire PE or any of the group of companies at
       8   with Bitcoin?                                        8   all to my LinkedIn profile.
       9       A. Would it put us in competition? It            9             Mind you, back in those days I
      10   would if I did want to run out a digital            10   really didn't use LinkedIn.
      11   currency, but it is not on my agenda.               11         Q. You said you were CFO and
      12       Q. Oh, and do you have any                      12   shareholder of several companies with Craig
      13   communications with Diane Pinder?                   13   Wright, right?
      14       A. Not recently.                                14         A. Yes. The group of his companies he
      15       Q. Can you tell me the substance of             15   appointed me as CFO and director.
      16   your communication was Diane Pinder?                16         Q. And none of these are on your
      17       A. Diane Pinder was an advisory board           17   LinkedIn. Are they?
      18   member with YDF in the early days.                  18         A. No.
      19            And since then, so, many years now.        19         Q. And those companies had issues with
      20       Q. Uh-huh.                                      20   the ATO, correct?
      21       A. Probably 2014, 2016 -- it would have         21         A. Yes.
      22   been 2014.                                          22         Q. And you were copied on e-mails with




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       1   the ATO?                                             1        Q. So, from January to July I guess
       2        A. Yes.                                         2   there weren't any documents that you were looking
       3        Q. And you left all of them off of your         3   at, because you didn't get them until July?
       4   experience, correct?                                 4        A. That's right.
       5        A. Yes, because I wasn't -- Craig ran           5        Q. So, what were you doing from January
       6   the matters himself.                                 6   to July with Hotwire?
       7            It would be different if I ran the          7        A. Trying to have a look at okay, what
       8   matters.                                             8   is the best way moving forward. How do we turn
       9            I'm not going to turn around and put        9   around and increase the staffing, because things
      10   myself out as the CFO when he is looking after      10   don't happen that quickly anyway.
      11   all of the matters.                                 11            And the staff, if you have a look,
      12        Q. And again you were CFO for nine             12   they were really only started in May, June, June.
      13   months, right?                                      13   It was late. It wasn't --
      14        A. Yes. Well --                                14        Q. So, what were you doing to complete
      15        Q. And during that nine months did you         15   those tasks that you have just mentioned?
      16   ever e-mail the ATO and say something is wrong?     16        A. Well that was my issue. I didn't
      17        A. No, why would I?                            17   have enough information, nor a whole lot of task.
      18            Information was only supplied as we        18            It was all about the projects that
      19   were doing the R&D and the Australia Taxation       19   Craig was involved in and his background with
      20   Office trying to come up with the numbers.          20   Bitcoin and understanding the knowledge of
      21        Q. And earlier you said -- I just want         21   Blockchain.
      22   to make sure I get it right. You said that after    22        Q. Okay. So from January to July you
                                                 Page 131                                                 Page 133
       1   Dave died, you were uncomfortable with the           1   had an issue, because you didn't have -- could
       2   documentations for the companies?                    2   you clarify what was it that you didn't have?
       3        A. That's correct. And when did I               3        A. There was no accounts that were
       4   receive the documentation, and the accounts, it      4   required to be done or completed.
       5   all started coming through from beginning of July    5        Q. Okay.
       6   when our end of financial period was ended on the    6        A. All of it was to do with the
       7   30th of June.                                        7   transfer of information and license agreements
       8             And then when I had to start putting       8   and things like that.
       9   the tax returns and the R&D forms all together       9            So, it was more of a legal over an
      10   and Craig actually even did the numbers himself     10   accounting.
      11   and then would hand them to me.                     11        Q. Okay. And so, did you, are there
      12             So, even down to legal work. Craig        12   any e-mails or documents or, did you have any
      13   looked after a lot of his legal work, he would      13   communications where you expressed concerns that
      14   look after his accounts and then it would be        14   you weren't doing anything for the seven-month
      15   handed over to me and then I would have to go       15   period?
      16   through them. And then I would ask questions and    16        A. There was no work to be done. As in
      17   then we would try to work it out.                   17   there was nothing from the accounting point
      18             And then that is when I turned            18   because the bookkeeper was there. So a lot of
      19   around and said I don't feel comfortable.           19   mine was strategy with Craig and sitting and
      20        Q. Okay.                                       20   understanding, okay, how do we actually structure
      21        A. And that is why I never lodged them.        21   this to be able to move forward.
      22   And Craig actually lodged them himself.             22        Q. So, Hotwire agreed to make you the




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       1   second highest paid employee and you did nothing     1       Q. And, were any other the lawyers that
       2   for seven months?                                    2   you spoke with other than Mr. Freedman?
       3        A. I never got a cent anyway.                   3       A. No.
       4        Q. Okay.                                        4       Q. You said the ATO is asking you to
       5        A. But I still had to pay tax on the            5   pay taxes on income that you would have made at
       6   money. And if you go and have a look at the          6   Hotwire, right?
       7   records, I also put the down deposit down for the    7       A. That's correct.
       8   rental property that Craig never paid me back as     8       Q. But you are saying you did not make
       9   well. And all of the travel back and forward out     9   income --
      10   of Sydney and accommodation expense and             10       A. I did not receive one cent. And you
      11   expenditure was never reimbursed as well.           11   can go through all the bank accounts and you will
      12        Q. Are you upset about that?                   12   notice that I never received one. It was only me
      13        A. I think it is unethical.                    13   sending money to Craig and never being
      14        Q. Okay.                                       14   reimbursed.
      15        A. You would do the right thing. If            15       Q. And in January did you complain that
      16   you are delivering and you are working and doing    16   you hadn't been paid your salary?
      17   your duties, and your jobs and you want to be       17       A. In January?
      18   part of a project, well then you should pay.        18       Q. Of 2013.
      19        Q. Were you monitoring this case?              19       A. No.
      20   Monitoring?                                         20       Q. And in February of 2013, did you
      21        A. No. It actually was Steve Lipke who         21   complain that you hadn't received your salary?
      22   made me aware of it.                                22       A. To be honest I didn't expect to
                                                 Page 135                                                 Page 137
       1         Q. And then you reached out and                1   receive a salary. And I didn't even, wasn't
       2   congratulated Mr. Freedman?                          2   aware of the Document 20, this here, that I
       3         A. Yes, I did. And the same reason I           3   believe is what you received from the
       4   never got paid, that team down in Sydney did not     4   administrators, of when they were looking after
       5   get paid. They were loaning money off family and     5   and winding up the company.
       6   loved ones to be able to afford to pay their rent    6           That's the only way, reason I've got
       7   and keep afloat.                                     7   knowledge of it as well.
       8            They were in quite a state. And             8           Prior to that it was with the
       9   still have not recovered.                            9   payment summary that came in, and the ATO said I
      10         Q. And you said that when you were, you       10   received money and I said no, I didn't.
      11   resigned your shares were just taken from you,      11           But, that is how this documentation
      12   right?                                              12   also was supplied to me.
      13         A. That's correct.                            13        Q. Okay.
      14         Q. How did you feel about that?               14        A. So, no, I didn't expect to receive
      15         A. No, acceptable. I never argued. I          15   any money. Otherwise it would be strange if I
      16   didn't dispute. I, I was only wanting what I was    16   turned around and said no I didn't take any
      17   entitled to and that was the money, the physical    17   money.
      18   cash that I was out of pocket with.                 18        Q. Okay. So, your payment, what was
      19            But then the lawyers got involved          19   your payment for being CFO? What was your
      20   down in Sydney as part of the administration, and   20   expected payment? What, were you getting out of
      21   said no, that is an individual matter for Craig.    21   being CFO.
      22   We are not paying you anything.                     22        A. It was supposed to be an annual




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       1   salary of what is here, 150. But it never            1            Craig Wright never told you that he
       2   commenced.                                           2   mined with Dave?
       3            But, I wasn't worried anyway.               3        A. Yes, he did.
       4            The issue is, I wasn't concerned,           4            MR. FREEDMAN: Object to form.
       5   because we were in the stages of doing a setup, a    5   BY MR. PASCHAL:
       6   startup.                                             6        Q. Well, when did he tell you that?
       7        Q. Okay.                                        7        A. Well that is how I knew all about
       8        A. During that period of time, I didn't         8   the Bitcoin and his wallets.
       9   understand the whole, you know, the Bitcoin, the     9        Q. Mr. Wilson, I asked you a second ago
      10   wallets, and how much money.                        10   what were all of the statements that Mr. Craig
      11            So, I had to get all of that               11   Wright made to you to make you think that.
      12   training. So, I was happy to turn around and        12            You did not say that Craig Wright
      13   spend the time and learning, purely because of my   13   said I mined Bitcoin with Dave.
      14   history with Craig, and being an advisory board     14            MR. FREEDMAN: Object to form. You
      15   member of YDF and the relationship there.           15      are mischaracterizing.
      16            So that's why I was more than happy        16            MR. PASCHAL: He did not say that.
      17   to turn around and wear it. Once the companies      17      That is why the live feed is helpful.
      18   got money, then I would get paid but then my        18            THE WITNESS: You know, Dave, not
      19   duties would increase. But we never got there.      19      Dave, Craig, had been mining it for quite
      20        Q. So, earlier, earlier Mr. Freedman           20      some time.
      21   asked you about whether or not you knew that        21   BY MR. PASCHAL:
      22   Dr. Wright's Bitcoin was locked up in an            22        Q. Well, let me ask you -- I'm sorry,
                                                 Page 139                                                Page 141
      1    encrypted file. Do you recall that line of           1   are you finished?
      2    questioning?                                         2        A. Yes.
      3         A. Yes.                                         3        Q. Okay. If Craig purchased Bitcoin,
      4         Q. And he asked you several times?              4   would you have known that he purchased it?
      5         A. And was he able to get, and was he           5        A. Well you could track it back,
      6    not able to get access to it.                        6   absolutely, through the ledger. I mean there is
      7         Q. Let me break that down.                      7   a history, there is an audit trail.
      8             Do you know how Craig Wright                8        Q. Do you know if -- well, do you know
      9    obtained Bitcoin?                                    9   if Craig Wright purchased Bitcoin?
     10         A. Through mining. With Dave Kleiman,          10        A. No, I don't.
     11    that was my understanding.                          11        Q. So, if he purchases Bitcoin, you
     12         Q. What is your understanding based on?        12   wouldn't know if it came, that could be his
     13         A. From Craig saying that it was               13   Bitcoin holding, correct?
     14    working with a great mate who was in the U.S.,      14        A. Correct.
     15    Dave. And they set up Bitcoin and that it was       15        Q. So, you are not sure if he mined
     16    Hitoshi --                                          16   that Bitcoin then, am I --
     17         Q. Were those the statements to you,           17        A. Oh, no, he definitely mined it. He
     18    were there any other statements that you recall     18   even got new servers, et cetera, that ran in his
     19    right now?                                          19   garage.
     20         A. No. No.                                     20        Q. Okay. But let's say his garage was
     21         Q. So, from those statements, you --           21   closed down and he removed all of his equipment.
     22    well, let me back up.                               22        A. Right.




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      1            MR. FREEDMAN: Object to form.             1   it was all new to me. So I would have to break
      2   BY MR. PASCHAL:                                    2   it down.
      3        Q. Would he have been mining anywhere         3            But, the wallets are there. Craig
      4   else.                                              4   has e-mailed them through.
      5        A. Absolutely you can.                        5        Q. Okay.
      6        Q. Well not anyone can, he can?               6        A. And I can't see Craig having that
      7        A. He has the ability to be able to do        7   sort of wealth to buy the Bitcoin when he was
      8   it on a mobile device.                             8   driving around in hoodies and also, you know, in
      9            I mean, it might blow the phone up        9   a, in a very cheap car. And a rental property.
     10   but you still have many other options of being    10        Q. Did you have access to any of
     11   able to mine the Bitcoin.                         11   Dr. Craig Wright's financial records when he had
     12        Q. Do you think he was mining on a           12   a hoodie?
     13   mobile device?                                    13        A. No.
     14        A. No.                                       14        Q. Did you see his bank account
     15        Q. Okay.                                     15   statements?
     16        A. But if your question was do you           16        A. No.
     17   think that he had been doing -- mining Bitcoin,   17        Q. Did you see what he was spending to
     18   absolutely.                                       18   buy computers?
     19        Q. But I'm going to go back to my            19        A. No.
     20   question. Do you know, other than his garage,     20        Q. Okay. And let me ask you, when did
     21   was he mining Bitcoin?                            21   you stop speaking to Craig Wright? Or did you
     22        A. Yes.                                      22   stop speaking to Craig Wright?
                                               Page 143                                                Page 145
      1        Q. And how do you know that?                  1       A. It is years ago.
      2        A. Because he told me so.                     2       Q. Huh?
      3        Q. Okay. And when he told you, was he         3       A. Years ago.
      4   saying that this is the Bitcoin that I mined in    4       Q. Can you give me a date? A year?
      5   my garage, do you know?                            5       A. Two, three.
      6        A. No. But that is not relevant, is           6       Q. Two, three years ago?
      7   it?                                                7       A. Yes.
      8        Q. Well, I'm asking you --                    8       Q. And what made you stop speaking with
      9        A. Well, I don't think --                     9   Craig Wright?
     10        Q. Did he say he was mining in his           10       A. I didn't like the way he went about
     11   garage and you don't know?                        11   business. The ethics and morals.
     12        A. No.                                       12       Q. Okay.
     13        Q. So, if he purchased Bitcoin               13       A. The way he treats people.
     14   afterwards, you wouldn't know?                    14       Q. Did he treat you bad?
     15        A. No.                                       15       A. No. No. He was pretty good with
     16        Q. Okay. And do you know how much he         16   me.
     17   mined, exactly?                                   17       Q. Okay. And when Craig Wright, you
     18        A. No. Because he already had a huge         18   saw these Bitcoin wallets, did you ever see Craig
     19   amount of Bitcoin as per the wallets.             19   Wright transfer Bitcoin to anyone?
     20           And when Craig said to me this is         20       A. No. See, I, I have never seen any
     21   where my wallets are and this is the amount of    21   Bitcoin transfer at all. All I have ever seen is
     22   Bitcoin that I have mined it, well then, I mean   22   the wallets on a screen, or the ones that he has




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      1   e-mailed through. That is it.                       1        Q. So you never saw a private key?
      2        Q. So, if Craig Wright had his Bitcoin         2        A. No.
      3   encrypted, and you never saw any transfers, how     3           MR. PASCHAL: We are going to take a
      4   would you be able to say that they weren't          4     break for a second.
      5   encrypted? Is it just that he said he never told    5           THE VIDEOGRAPHER: Off the record at
      6   you that?                                           6     11:04.
      7        A. Craig would log into them. So, I            7           (Recess taken -- 11:04 a.m.)
      8   know that he could access them.                     8           (After recess -- 11:20 a.m.)
      9        Q. Okay. And when did you see Craig            9           THE VIDEOGRAPHER: We are back on
     10   log into Bitcoin?                                  10     the record at 11:20.
     11        A. Oh, several times at his home              11   BY MR. PASCHAL:
     12   address.                                           12        Q. Mr. Wilson, what did you discuss on
     13        Q. Okay. And what would you see?              13   the phone with Mr. Freedman?
     14        A. Oh, the accounts, his wallets, and         14        A. When I was travelling back into the
     15   then he showed me how it works.                    15   U.S., would I be available to catch up.
     16        Q. And what computer, was it a computer       16        Q. Well, how many phone conversations
     17   that he was showing you it on?                     17   did you have with Mr. Freedman?
     18        A. Yes.                                       18        A. Around about three.
     19        Q. Was it like a laptop?                      19        Q. Okay. And they were three separate
     20        A. Oh, I can't remember.                      20   e-mails, also?
     21        Q. Okay.                                      21        A. Well, yes, there were e-mails going
     22        A. It was at his home.                        22   back and forward. But some of them are very
                                               Page 147                                               Page 149
      1        Q. And how many years ago was that?            1   short. I am happy to supply them.
      2        A. Oh, that would have been 2013.              2        Q. Just focusing on the phone
      3        Q. And in what home was that?                  3   conversations.
      4        A. At Howard Street at North Rye, I            4        A. Uh-huh.
      5   think it was.                                       5        Q. What did you discuss with
      6        Q. But you did not see him transfer            6   Mr. Freedman?
      7   Bitcoin or move Bitcoin?                            7        A. In regards to the social media posts
      8        A. No, but there was no reason for him         8   that Craig put up about myself, talking ill of
      9   to do that in front of me.                          9   me, did I have any supporting documents? And I
     10        Q. Okay. So, if you could log into the        10   said yes I would share them with you.
     11   screen, right, you could see Bitcoin.              11        Q. What did you say about the posts
     12        A. Yes.                                       12   that Dr. Wright said about you?
     13        Q. But, if it was encrypted, then he          13        A. I wasn't aware of it. I actually
     14   couldn't move them. You wouldn't know that,        14   had to go and search it myself.
     15   right?                                             15        Q. Okay.
     16        A. Well, once you log-in and you've got       16        A. I wasn't aware at all.
     17   access to it, you would be able to send money,     17            I actually wasn't even aware of the
     18   receive money.                                     18   case until Steven Lipke made me aware.
     19        Q. Did you see the private keys that          19        Q. Who was Steven Lipke?
     20   Craig Wright had?                                  20        A. He was one of the operations
     21        A. Only what was on the screen. But,          21   managers for Craig Wright out of Sydney.
     22   they are not -- no, the wallets only.              22        Q. Okay. For --




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       1        A. I mean, even now, for today's                1        Q. And have you ever spoken to Ira
       2   meeting, somehow it has been also on, there is an    2   Kleiman?
       3   article about it, that I was coming in and he        3        A. No.
       4   made me aware of it, too.                            4        Q. Have you ever looked up any
       5        Q. Steven Lipke did?                            5   information about Ira Kleiman?
       6        A. Steven Lipke did, yes.                       6        A. No. Oh, yes. And I had an e-mail
       7        Q. And where does Steven Lipke work             7   that she was originally involved right at the
       8   now?                                                 8   early days of it.
       9        A. I'm not sure.                                9        Q. What e-mail?
      10        Q. How does he communicate with you?           10        A. I would have to have a look.
      11        A. He will send me a phone call, he            11        Q. Who was the e-mail between?
      12   will send me an e-mail.                             12        A. Craig Wright.
      13        Q. What is his e-mail address?                 13        Q. And who else?
      14        A. I couldn't tell you. I would have           14        A. Myself. And probably Ramona Watts.
      15   to look it up. It is not someone I go back and      15        Q. And it discussed Ira Kleiman?
      16   forward.                                            16        A. Ira was involved in the e-mail.
      17            Now and then he would just sort of         17        Q. He was a recipient or was he
      18   pop up and, I mean, I haven't even caught up with   18   discussed in the e-mail?
      19   Steve in, well, for quite some time.                19        A. No, no, no, no. A recipient of the
      20        Q. And where does he live?                     20   e-mail.
      21        A. In Sydney.                                  21        Q. And what did the e-mail discuss?
      22        Q. Do you know his phone number?               22        A. It was just general information.
                                                 Page 151                                              Page 153
      1         A. I would have to look it up for you,          1            The only reason I'm aware of it,
      2    I don't.                                             2   because it came up and said we have never met
      3         Q. Where would you look up his phone            3   Ira. I actually thought it was a -- wait, is
      4    number?                                              4   that Kleiman?
      5         A. Out of my cell.                              5        Q. Ira Kleiman.
      6         Q. Do you have your cell on you now?            6        A. No, no, I had no correspondence
      7         A. Yes.                                         7   whatsoever.
      8         Q. Can you please look at his number?           8        Q. Okay.
      9         A. Yes.                                         9        A. There was another person that Craig
     10             MR. BRENNER: For the record,               10   was involved with, and it was a lady. I can't
     11       Mr. Freedman is dealing with a personal issue    11   remember her name, though.
     12       so I just stepped in.                            12        Q. But her name was Ira?
     13             THE WITNESS: Okay he was the               13        A. No, no. It was a Chinese name. Or
     14       project manager.                                 14   an Asian name.
     15    BY MR. PASCHAL:                                     15        Q. Okay.
     16         Q. And what is his phone number?               16        A. I have had no correspondence
     17         A. Plus 61-417-261-542.                        17   whatsoever from the Kleiman family.
     18         Q. Does your contact info also show his        18        Q. Could you just spell Lipke, the
     19    e-mail address?                                     19   e-mail address that you had in your phone?
     20         A. Yes, it does.                               20        A. L-I-P-K-E_S@hotmail.com.
     21         Q. Can you please provide that tome?           21        Q. And when did you start working with
     22         A. Lipke_s@hotmail.com.                        22   Craig Wright?




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      1          A. It would have been the end of 2011,         1        A. D-R-E-W, and Nicholas,
      2    2012.                                                2   N-I-C-H-O-L-A-S.
      3          Q. Okay. And did you develop a patent          3        Q. Okay. And how did you know Mr. Drew
      4    with Craig Wright?                                   4   Nicholas?
      5          A. I already started the process               5        A. I was looking for an IT company with
      6    because I came up with the concept in 2010. So,      6   developers to be able to develop it.
      7    the patents was already underway.                    7        Q. And do you still talk to
      8             And, then Craig, I got Craig                8   Mr. Nicholas today?
      9    involved and said --                                 9        A. Yes, I do.
     10          Q. Let me just ask you -- so, how did         10        Q. Did Mr. Nicholas meet Craig Wright?
     11    you start the process?                              11        A. Yes.
     12          A. Because I --                               12        Q. Did they work together?
     13             MR. BRENNER: Object to the form.           13        A. Craig was only advisor. Craig never
     14             THE WITNESS: Because when I was            14   got involved in code.
     15       looking for the solution, and I couldn't find    15        Q. Okay.
     16       it. So I went to a patent attorney, from my      16        A. Craig wasn't involved in any of the
     17       commercial lawyers. He said go to a patent       17   coding or development of it.
     18       attorney and see if you can find it.             18             (Wilson Exhibit Number 22
     19             And they said Jamie, there is              19              marked for identification.)
     20       nothing out there on a global stage. And I       20   BY MR. PASCHAL:
     21       said you've got to be kidding, I mean it         21        Q. I'm showing you what we are marking
     22       makes sense to me.                               22   as 22.
                                                 Page 155                                                 Page 157
       1   BY MR. PASCHAL:                                      1             So is this one of the patents that
       2        Q. Just to clarify, what was the stage,         2   you and Craig Wright put together?
       3   for what?                                            3        A. Correct.
       4        A. In the event of losing a loved one           4        Q. Okay. And it was registered in
       5   that between an escrow and a cloud provider that     5   2011?
       6   the information would be released.                   6        A. That's correct.
       7            So I already started the process.           7        Q. October 28, 2011?
       8        Q. So when you say the process, do you          8        A. Yes.
       9   refer to the idea?                                   9        Q. Okay. So, when did Craig come on
      10        A. The concept, yes.                           10   board with this patent?
      11        Q. But you didn't actually start the           11        A. Craig was only added as a name. I
      12   whole programming and putting together and coding   12   had to change all of the documentation.
      13   or anything?                                        13             So Craig came on around about 2012.
      14        A. Yeah, I did before Craig come along.        14        Q. So, you were just using his name for
      15        Q. But you didn't?                             15   the patent?
      16        A. Physically, no. As I said, I don't          16        A. No, no, no. Because Craig said to
      17   write code. I don't have an IT background. I        17   me, well, I needed a local and I wanted to make
      18   make it very clear, I do not have an IT             18   sure that I had all of the I's dotted and the T's
      19   background. I do not develop.                       19   crossed.
      20        Q. Who did that for you?                       20        Q. Uh-huh.
      21        A. Drew Nicholas.                              21        A. So, Craig was even paid handsomely
      22        Q. Can you spell that for me, please?          22   for his time as well to oversee it, which was




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       1   wrong, and I still had to get my patents             1   involved in any way in this patent?
       2   attorneys to go through it.                          2        A. No. Not at all.
       3            So, Davies Collison & Cave were the         3        Q. Do you use any of this patent today?
       4   ones who actually looked after the patents as        4        A. This is my technology. Cryptoloc.
       5   well.                                                5        Q. This is your technology?
       6            And Craig, and naturally because he         6        A. Yes. Cryptoloc, absolutely.
       7   was paid, it was my concept, the process already     7        Q. And it involves cryptography?
       8   started, he had to sign, make sure that we got a     8        A. That's correct.
       9   signoff that he had no rights to it?                 9        Q. And would it be wrong to say that
      10         Q. So, when you list Craig Wright and         10   Dave is entitled to half of this?
      11   you as the inventor, is that incorrect?             11        A. How could he be entitled to half of
      12         A. No. Because Craig was also an              12   it? How could Craig be entitled to half of it.
      13   advisor. Same with my lawyers and people like       13        Q. I'm just asking. Would it be wrong
      14   that.                                               14   to say that Dave Kleiman is entitled to half of
      15         Q. Well, would your lawyers be listed         15   this, your property right now, your intellectual
      16   as an inventor?                                     16   property.
      17         A. Well that was from the legal point.        17        A. Absolutely not.
      18   Craig being IT and that this documentation was in   18             MR. FREEDMAN: Objection to form.
      19   regards to the IT side, that is why it was          19             MR. PASCHAL: It would be correct?
      20   listed.                                             20             THE WITNESS: No, he is not entitled
      21         Q. Why isn't Mr. Drew, why isn't Drew         21      to it at all.
      22   listed on here as an inventor?                      22             MR. FREEDMAN: Objection to form.
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       1        A. Drew was a developer. It was, well           1             THE WITNESS: Nor is Craig Wright
       2   my concept. Originally, it was just my name on       2       entitled to it.
       3   all of the documentation.                            3   BY MR. PASCHAL:
       4            Then Craig wanted to get more               4         Q. Okay. So, if you were to -- I just
       5   involved in it and I said well you should be         5   want to -- have you ever amended the information
       6   probably listed as an inventor as well. And that     6   on this patent?
       7   is how he got his name on it.                        7         A. Why would I?
       8        Q. But you said he did some advising to         8         Q. To remove Craig Wright as inventor.
       9   get this, right?                                     9         A. No, Craig Wright signed off all of
      10        A. He was involved, we had already done        10   his rights to be able to take any claim against
      11   all of the paperwork and all of the knowledge and   11   it.
      12   how it worked system-wise.                          12         Q. Okay. And --
      13            And then Craig came on later on down       13         A. And that is all done under Davies
      14   the track.                                          14   Collison & Cave; they are patent attorneys.
      15            And then I wanted Craig as a               15         Q. Okay. And when did Craig Wright
      16   director and an advisor to ensure that we were      16   sign that document?
      17   moving in the right direction.                      17         A. Oh, I'm not sure. Davies Collison &
      18            So, his expertise is what I was            18   Cave would have the date. It was at the
      19   using to ensure that the I's were dotted and the    19   beginning stages, because Craig was paid,
      20   T's were crossed.                                   20   physically paid money to it.
      21        Q. Good memory.                                21         Q. It couldn't have been early 2011,
      22            Was Dave involved, Dave Kleiman            22   right?




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      1         A. No, it wasn't. It was '12. I                1       A. It was through the lawyers and it
      2    already started the process with the patents        2   was just paperwork. It wasn't technology.
      3    before Craig came along.                            3            It was documentation.
      4         Q. Okay.                                       4       Q. So, you hired Craig Wright to be, to
      5         A. So, if you go and have a look at the        5   look at this?
      6    history of it, you would notice that I was the      6       A. Yes.
      7    only inventor.                                      7       Q. As -- well, let me -- so, Craig
      8         Q. But, so you are saying that Craig           8   Wright at this time he is wearing his hoodies?
      9    wouldn't have interest in it because he signed      9       A. Yes.
     10    over any of his rights?                            10       Q. He is into his IT?
     11         A. That's correct. Well he didn't have        11       A. Yes.
     12    the concept. It was me who came up with the        12       Q. He is into his developer?
     13    concept.                                           13       A. Yes.
     14         Q. Okay. So I just want to clarify,           14       Q. So, you wouldn't hire him as a
     15    though --                                          15   lawyer?
     16         A. Craig --                                   16       A. No, Craig Wright as an expert in, a
     17         Q. -- would you think that it would           17   cyber security expert.
     18    have been an accurate statement to say that Dave   18       Q. And that is why his name was on here
     19    Kleiman, the estate of Dave Kleiman is entitled    19   as an inventor?
     20    to half of this?                                   20       A. That's right.
     21             MR. FREEDMAN: Objection to form.          21       Q. As inventor --
     22             THE WITNESS: Why would you think          22       A. Okay then, as an inventor.
                                                Page 163                                               Page 165
       1      that, though?                                    1        Q. Okay. And, there is a document, I
       2   BY MR. PASCHAL:                                     2   haven't seen it, but he has signed, you said he
       3        Q. I'm just asking the question.               3   waived his rights to this?
       4        A. Well if you think about it, I               4        A. Absolutely.
       5   started the process. I had the concept. The         5        Q. In 2012?
       6   patent was lodged prior to them coming on board.    6        A. Before we even started, or I got
       7   Well, prior to Craig even being involved in the     7   Craig involved.
       8   business.                                           8            I mean naturally I'm not going to
       9             So, how could Dave, who I didn't          9   turn around and hand a concept over and have
      10   even know, and Craig Wright, who I didn't even     10   people like you look at me and try to take half
      11   know at that stage, be involved or entitled to     11   of the technology.
      12   the patent.                                        12        Q. It wouldn't be me.
      13   BY MR. PASCHAL:                                    13        A. I know where you are trying to go,
      14        Q. Could Dave have been working on this       14   though.
      15   with -- could Craig have been working on this      15        Q. I don't think you do.
      16   with Dave without your knowledge? The task that    16            And so, just to be clear, if you
      17   you told them?                                     17   look on, if you look at the document on the
      18        A. They had no access to them. They           18   right-hand side of application U.S. 14/354359
      19   never had access to the source code.               19   events, nowhere in here does it say that Craig
      20        Q. So, how was Craig making sure that         20   Wright, or did you amend this patent to remove
      21   all of your T's were crossed and your I's were     21   Craig Wright, correct?
      22   dotted?                                            22        A. Did I -- there was movement back and




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       1   forward with Davies Collison & Cave. So, Davies      1   people need protection, because hacking can
       2   Collison & Cave would have the history and the       2   happen?
       3   documentation, et cetera, that was needed to be      3        A. And your e-mails are one of the
       4   done in the process.                                 4   weakest links.
       5        Q. And let's say in his advisory role           5        Q. And so if Craig Wright were hacked,
       6   Craig Wright, as the inventor, as an IT guy          6   and he just, is there some foolproof way that he
       7   wearing his hoodie had conversations with Dave       7   would know right away?
       8   Kleiman to develop this intellectual property or     8        A. No.
       9   to do anything with it. I mean let's say Craig       9        Q. Okay. And if he learned many years
      10   didn't tell you. Well first did Craig ever tell     10   later, is that something that you see as uncommon
      11   you that?                                           11   in your line of work?
      12        A. No. It was all done in-house. I             12        A. No.
      13   mean, Craig may have had conversations with many    13        Q. Okay. And, I think I am pretty
      14   people about it.                                    14   much -- just one second.
      15            But, it was all done in-house; it          15             MR. PASCHAL: I think we are good.
      16   wasn't --                                           16      That is it.
      17        Q. Did you ever get a document from            17               FURTHER EXAMINATION
      18   Dave Kleiman saying he would waive any of his       18   BY MR. FREEDMAN:
      19   interests to this patent?                           19        Q. I have five questions for you, well
      20        A. I don't see how Dave could be               20   maybe a little more, but we will get you out of
      21   involved in it.                                     21   here.
      22        Q. Let's assume that a court ordered           22             Did you ever respond to an e-mail
                                                 Page 167                                                 Page 169
       1   that that intellectual property belonged --          1   from Craig and receive back an e-mail, I don't
       2        A. It wouldn't be involved.                     2   know what you are talking about, I didn't send
       3            MR. FREEDMAN: Objection to form.            3   this e-mail?
       4   BY MR. PASCHAL:                                      4        A. I don't know what you mean.
       5        Q. You didn't get a waiver from Dave            5            MR. PASCHAL: Objection to form.
       6   Kleiman, did you?                                    6   BY MR. FREEDMAN:
       7        A. No. I don't need to.                         7        Q. Well we were talking about whether
       8        Q. Okay. So, Mr. Freedman asked you             8   or not the e-mails were hacked.
       9   about hacking earlier?                               9            My question is, did you ever respond
      10        A. With Craig Wright, the e-mails being        10   to an e-mail from Craig, either orally or via
      11   hacked.                                             11   e-mail and receive a response from Craig saying I
      12        Q. So, hacking can happen, do people           12   didn't send that e-mail. It is a hacked e-mail?
      13   know exactly when a hack happens?                   13        A. No, I didn't even know he was
      14        A. Not -- no. Not thoroughly.                  14   hacked.
      15        Q. I mean part of that, I mean the             15        Q. Mr. Wilson, can you take a look at
      16   hacking could be something that, in fact, I don't   16   Plaintiffs Exhibit 1 for me, or Wilson 1 for me.
      17   know if I need to pull it, but on your website      17            And, those are the resignation
      18   you expressed that hacking could be something you   18   letters?
      19   learn of much later. Right?                         19        A. Yes.
      20        A. That's correct and it is public             20        Q. Can you read the companies you
      21   knowledge.                                          21   resigned from?
      22        Q. And it is something even savvy              22        A. Coin Exchange, Hotwire Preemptive




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       1   Intelligence, Interconnect Research and Integers.    1           CERTIFICATE OF COURT REPORTER
       2        Q. I noticed that, and actually you             2   UNITED STATES OF AMERICA )
       3   noticed, Mr. Wilson, during a break you mentioned    3   DISTRICT OF COLUMBIA )
       4   this to us, that there was missing W&K was           4         I, LORI J. GOODIN, RPR, CLR, CRR, the
       5   missing from the resignation.
                                                                5   reporter before whom the foregoing deposition was
                                                                6   taken, do hereby certify that the witness whose
       6        A. That's correct.
                                                                7   testimony appears in the foregoing deposition was
       7        Q. Why is that?                                 8   sworn by me; that the testimony of said witness
       8        A. Because I didn't even know I was a           9   was taken by me in machine shorthand and
       9   director.                                           10   thereafter transcribed by computer-aided
      10             MR. FREEDMAN: No further questions.       11   transcription; that said deposition is a true
      11             MR. PASCHAL: No further questions.        12   record of the testimony given by said witness;
      12             All right, I think we are done.           13   that I am neither counsel for, related to, nor
      13             MR. FREEDMAN: You have a right to         14   employed by any of the parties to the action in
      14      read your deposition and you can correct         15   which this deposition was taken; and, further,
      15      inaccuracies that you believe are there, or      16   that I am not a relative or employee of any
                                                               17   attorney or counsel employed by the parties
      16      you can trust the court reporter did her job.
                                                               18   hereto, or financially or otherwise interested
      17             Do you elect to read it or do you
                                                               19   in the outcome of this action.
      18      waive your right to read it.                     20             __________________________________
      19             THE WITNESS: I will waive my right.                      LORI J. GOODIN, RPR, CLR, CRR, RSA
      20             THE VIDEOGRAPHER: All right, if           21             Notary Public in and for the
      21      this is everything, we are off the record at                    District of Columbia
      22      November 8, 2019, at 11:39.                      22   My Commission expires: May 14, 2021
                                                 Page 171
       1        (Whereupon, signature having been waived,
       2   the deposition concluded at 11:39 a m.)
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